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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                          -X


  MARTIN JONATHAN BATALLA VIDAL et al..

                                Plaintiffs,
                                                                     MEMORANDUM & ORDER
                 -against-
                                                                        16-CV-4756(NGG)(JO)

  KJRSTJEN M.NIELSEN,Secretary, Department of
  Homeland Security, et al..

                                Defendants.
                                                           -X


  STATE OF NEW YORK et al..

                                Plaintiffs,
                                                                     MEMORANDUM & ORDER
                 -against-
                                                                        17-CV-5228(NGG)(JO)

  DONALD TRUMP,President ofthe United States, et al.

                                Defendants.
                                                           -X


  NICHOLAS G. GARAUFIS,United States District Judge.

         In 2012,the Department of Homeland Security created the Deferred Action for

  Childhood Arrivals("DACA")program. That program permitted certain individuals without

  lawful immigration status who entered the United States as children to obtain "deferred

  action"— contingent, discretionary relieffrom deportation—and authorization to work legally in

  this country. Since 2012, nearly 800,000 DACA recipients have relied on this program to work,

  study, and keep building lives in this country.
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           On September 5, 2017,Defendants announced that they would gradually end the DACA

  program.' (Letter from Jefferson B. Sessions III to Elaine C. Duke(Admin. R.(Dkt. 77-1)^ 251)

  ("Sessions Ltr."); Mem.from Elaine C. Duke, Acting Sec'y, DHS,Rescission ofthe June 15,

  2012 Memorandum Entitled "Exercising Prosecutorial Discretion with Respect to Individuals

  Who Came to the United States as Children"(Sept. 5,2017)(Admin. R. 252)("DACA

  Rescission Memo").) The Department ofHomeland Security("DHS")would consider pending

  DACA applications and renewal requests, as well as promptly filed renewal requests by DACA

  beneficiaries whose benefits were set to expire ^vithin six months, but would reject all other

  applications and renewal requests. (DACA Rescission Memo at 4.) Plaintiffs in the above-

  captioned cases promptly challenged Defendants' decision on a number of grounds,including,

  most relevant for purposes ofthis Memorandum and Order, that the decision violated the

  Administrative Procedure Act,5 U.S.C. § 551 et sea,(the "APA"). (2d Am.Compl.(Dkt. 60));

  Compl.(Dkt. 1, No. 17-CV-5228).) Plaintiffs now seek a preliminary injunction barring

  Defendants from ending the DACA program pending a final adjudication ofthese cases on the

  merits. (Mem.in Supp. of Mot. for Prelim. Inj.(Dkt. 123-1)("BV Pis. Mot."); Mem.in Supp. of

  Mot. for Prelim. Inj.(Dkt. 96-1, No. 17-CV-5228)("State Pis. Mot.").)

          "Congress passed the[APA]to ensure that agencies follow constraints even as they

  exercise their powers. One ofthese constraints is the duty of agencies to find and formulate



 'Plaintiffs have named as defendants President Donald J. Trump, Secretary ofthe Department of Homeland
  Security Kristjen Nielsen, and Attorney General Jefferson B. Sessions III. Plaintiffs allege that the President
  terminated the DACA program because of unlawful discriminatory animus, in violation ofthe Fifth Amendment to
  the U.S. Constitution. (3d Am. Compl.(Dkt. 113, No. 16-CV-4756) 89-100, 195-98; Am. Compl.(Dkt. 54, No.
   17-CV-5228)1ft 57-70,233-39.) Because the APA does not permit direct review ofPresidential decisionmaking,
  Franklin v. Massachusetts. 505 U.S. 788, 800-01 (1992), only the Attorney General and Secretary Nielsen are
  defendants with respect to Plaintiffs' substantive APA claims, which are the focus ofthis opinion. (3d Am. Compl.
  (Dkt. 113, No. 16-CV-4756) at ECF p.40.)

  ^ All record citations refer to the docket in Batalla Vidal v. Nielsen. No. 16-CV-4756, except as otherwise noted.
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  policies that can be justified by neutral principles." FCC v. Fox Television Stations, Inc., 556

  U.S. 502,537(2009)(Kennedy, J., concurring in part and in the judgment). To that end,the

  APA authorizes parties harmed by federal agencies to obtain judicial review of agency decisions.

  5 U.S.C. § 702. The reviewing court must set aside "action, findings,[or] conclusions" that are,

  among other things,"arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law." Id § 706(2)(A).^ Review under this "arbitrary and capricious" standard is "narrow,"

  and the court may not "substitute its judgment for that ofthe agency"; instead, the court

  considers only whether the agency's decision "was the product ofreasoned decisionmaking."

  Motor Vehicle Mfrs. Ass'n of U.S.. Inc. v. State Farm Mut. Auto. Ins. Co.> 463 U.S. 29, 43,52

  (1983)("State Farm"). Ifthe agency decision "examine[d] the relevant data and articulate[d] a

  satisfactory explanation for its action including a 'rational connection between the facts found

  and the choice made,"'the court will uphold the agency's decision. Id at 43 (quoting Burlington

  Truck Lines v. United States. 371 U.S. 156,168 (1962)). If, however,the agency's decision

  "relied on factors which Congress has not intended it to consider, entirely failed to consider an

  important aspect ofthe problem, offered an explanation for its decision that runs counter to the

  evidence before the agency, or is so implausible that it could not be ascribed to a difference in

  view or the product of agency expertise," that decision must be set aside. Id

          Review under the arbitrary-and-capricious standard is generally limited to the agency's

  stated rationale for its decision. State Farm.463 U.S. at 43; Camp v. Pitts. 411 U.S. 138,143

  (1973)(per curiam), and to the "full administrative record that was before the [agency] at the

  time [it] made [its] decision." Citizens to Preserve Overton Park. Inc. v. Volpe. 401 U.S. 402,



  ^ On November 9,2017, the court rejected Defendants' arguments that judicial review under the APA was
  unavailable because the decision to rescind the DACA program was "committed to agency discretion by law.
  (Nov. 9,2017, Mem.& Order(Dkt. 104) at 20-28.)
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  420(1971)("Overtoil Park"). The court"may not supply a reasoned basis for the agency's

  action that the agency itself has not given." State Farm.463 U.S. at 43 (citing SEC v. Chenerv

  Corp.. 332 U.S. 194,196(1947)("Chenerv 11")): SEC v. Chenerv Corp.. 318 U.S. 80,87(1943)

  ("Chenerv I"). Nor may the court uphold agency action based on "post hoc rationalizations of

  agency action." State Farm.463 U.S. at 50; see also Williams Gas Processing - Gulf Coast Co..

  L.P. V. FERC.373 F.3d 1335,1345(D.C. Cir. 2004)(Roberts, J.)("It is axiomatic that [the

  court] may uphold agency orders based only on reasoning that is fairly stated by the agency in

  the order under review; post hoc rationalizations by agency counsel will not suffice."(internal

  quotation marks and citation omitted)).

         The APA thus sometimes places courts in the formalistic, even perverse, position of

  setting aside action that was clearly within the responsible agency's authority, simply because

  the agency gave the wrong reasons for, or failed to adequately explain, its decision. E.g., State

  Farm,463 U.S. at 42-43, 48-56; Overton Park,401 U.S. at 416,420. Based on the present

  record, these appears to be just such cases.

         Defendants indisputably can end the DACA program. Nothing in the Constitution or the

  Immigration and Nationality Act,8 U.S.C. § 1101 et seq.(the "INA"),requires immigration

  authorities to grant deferred action or work authorization to individuals without lawful

  immigration status. The DACA program, like prior deferred-action and similar discretionary

  relief programs, simply reflected the Obama Administration's determination that DHS's limited

  enforcement resources generally should not be used to deport individuals who were brought to

  the United States as children, met educational or military-service requirements, and lacked

  meaningful criminal records. (Mem.from Janet Napolitano, Sec'y, DHS,Exercising

  Prosecutorial Discretion with Respect to Individuals Who Came to the United States as Children
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  at 1-2(June 15, 2012)(Admin. R. 1-2)(the "2012 DACA Memo").) New Administrations may,

  however, alter or abandon their predecessors' policies, even if these policy shifts may impose

  staggering personal, social, and economic costs."^

           The question before the court is thus not whether Defendants could end the DACA

  program, but whether they offered legally adequate reasons for doing so. Based on its review of

  the record before it, the court concludes that Defendants have not done so. First, the decision to

  end the DACA program appears to rest exclusively on a legal conclusion that the program was

  unconstitutional and violated the APA and INA. Because that conclusion was erroneous, the

  decision to end the DACA program cannot stand. Second, this erroneous conclusion appears to

  have relied in part on the plainly incorrect factual premise that courts have recognized

  "constitutional defects" in the somewhat analogous Deferred Action for Parents of Americans

  and Lawful Permanent Residents("DAPA")program. Third, Defendants' decision appears to be

  internally contradictory, as the means by which Defendants chose to "wind down" the program

  (namely, by continuing to adjudicate certain DACA renewal applications) cannot be reconciled

  with their stated rationale for ending the program (namely,that DACA was unconstitutional).

  Any ofthese flaws would support invalidating the DACA rescission as arbitrary and capricious.

           Before this court. Defendants have attempted to reframe their decision as motivated by

  "litigation risk," They contend that the decision to end the DACA program was reasonable in

  light ofthe prospect that Texas and several other states would seek to amend their complaint in

  Texas v. United States. No. 14-CV-254(S.D. Tex.), to challenge the DACA program; that the




  ^ These costs are detailed in greater length in the exhibits to Plaintiffs' motions for preliminary injunction, and in
  the many helpful briefs filed by amici in these cases. (See, e.g.. Brief of Amici Curiae 114 Companies(Dkt. 160)
  (estimating the costs ofthe DACA rescission over the next decade at $460.3 billion in lost GDP and $24.6 billion in
  lost Social Security and Medicare tax contributions).)
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  U.S. District Court for the Southern District of Texas would issue a nationwide injunction ending

  the program; and that the U.S. Court of Appeals for the Fifth Circuit and the U.S. Supreme Court

  would affirm that injunction. (Defs. Opp'n to Pis. Mots, for Prelim. Inj.(Dkt. 239)at 1,10-11,

  21-24.) The Administrative Record does not support Defendants' contention that they decided to

  end the DACA program for this reason. Even if it did, reliance on this "litigation risk" rationale

  would have been arbitrary and capricious, in light of Defendants' failure to explain their decision

  or to consider any factors that might have weighed against ending the DACA program. And

  even ifthis "litigation risk" rationale were both supported by the Administrative Record and a

  reasonable basis for rescinding the DACA program,the court would nevertheless likely set

  Defendants' decision aside, as the court cannot say that any ofthe aforementioned errors were

  harmless,for purposes ofreview under the APA.

          Accordingly,the court concludes that Plaintiffs are likely to succeed on the merits of

  their substantive APA claims. Because Plaintiffs also satisfy the remaining requirements for the

  court to issue a preliminary injunction, the court ENJOINS Defendants from rescinding the

  DACA program, pending a decision on the merits ofthese cases. Defendants thus must continue

  processing both initial DACA applications and DACA renewal requests under the same terms

  and conditions that applied before September 5,2017,subject to the limitations described below.

  The scope ofthis preliminary injunction conforms to that previously issued by the U.S. District

  Court ofthe Northern District of California.      Order Denying Defendants' Motion to Dismiss

  for Lack of Subject-Matter Jurisdiction and Granting Provisional Relief(Dkt. 234), Regents of

  the Univ. of Calif, v. U.S. Dep't of Homeland Sec.. No. 3:17-CV-5211 (N.D. Cal. Jan. 9,2018)

  ("Regents'")(Alsup, J.), pet, for cert, before judgment filed. No. 17-1003.
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         The court makes clear, however, what this order is not.

            • This order does not hold that the rescission of DACA was unlawful. That
                question is for summary judgment, not motions for a preliminary injunction. Cf
                Hamilton Watch Co. v. Benrus Watch Co.. 206 F.2d 738,742(2d Cir. 1953)
                ("[A] preliminary injunction ... is, by its very nature, interlocutory, tentative,
                provisional, ad interim, impermanent, mutable, not fixed or final or conclusive,
                characterized by its for-the-time-beingness.").

            • This order does not hold that Defendants may not rescind the DACA
                program. Even ifthe court ultimately finds that Defendants' stated rationale for
                ending the DACA program was legally deficient, the ordinary remedy is for the
                court to remand the decision to DHS for reconsideration. See Chenerv 1. 318 U.S.
                at 94-95. On remand, DHS "might later, in the exercise of its lawful discretion,
                reach the same result for a different reason." FEC v. Akins. 524 U.S. 11, 25
                (1998).

            • This order does not require Defendants to grant any particular DACA
              applications or renewal requests. Restoring the DACA program to the status
              quo as of September 4, 2017, does not mean that every DACA recipient who
              requests renewal of his or her deferred action and work authorization will receive
              it. The DACA program identified "criteria [that] should be satisfied before an
              individual is considered for an exercise of prosecutorial discretion." (2012
              DACA Memo at 1.) It did not require immigration officials to defer action
              against any individuals who met these criteria; to the contrary, the 2012 DACA
              Memo stated that DHS would exercise prosecutorial discretion "on an individual
              basis" and would not "provide any assurance that relief will be granted in all
              cases." (Id at 2-3.) Preserving the status quo means only that Defendants must
              continue considering DACA applications and renewal requests, not that they must
              grant all such applications and requests. (See U.S. Citizenship & Immigration
              Servs., Frequently Asked Questions at Q6(Apr. 25,2017)("Apr. 25 DACA
              FAQs"),Ex.41 to State Pis. Mot.(Dkt. 97-2, No. 17-CV-5228)at ECF p.186.)

                This order does not prevent Defendants'from revoking individual DACA
                recipients' deferred action or work authorization. Under the 2012 DACA
                Memo,DHS may terminate a DACA recipient's deferred action "at any time,
                with or without a Notice ofIntent to Terminate, at [its] discretion." (Apr. 25
                DACA FAQs at Q27.) Maintaining the status quo does nothing to alter that.

         Because the court issues the preliminary injunction requested by Plaintiffs, the Batalla

  Vidal Plaintiffs' Motion for Class Certification (Dkt. 124)is DENIED as moot. The court will

  address by separate order Defendants' motions to dismiss Plaintiffs' operative complaints.
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  (Defs. Mot. to Dismiss Third Am. Compl.(Dkt. 207); Defs. Mot. to Dismiss(Dkt. 71,No. 17-

  CV-5228).)

  L      BACKGROUND

         The court provides a brief history ofimmigration authorities' use of"deferred action"

  and similar discretionary-relief programs,the DACA and DAPA programs, and this litigation to

  offer context for the discussion that follows. For further background,the reader may consult this

  court's prior orders(see Oct. 3,2017, Order(Dkt. 72); Oct. 17,2017, Mem.& Order(Dkt. 86);

  Oct. 19,2017, Mem.& Order(Dkt. 90); Nov. 9, 2017, Mem.& Order(Dkt. 104); Nov. 20,2017,

  Order(Dkt. 109); Dec. 15, 2017, Order(Dkt. 122); Jan. 8,2018, Mem.& Order(Dkt. 233)), the

  Northern District of California's opinion in Regents. 2018 WL 339144, at *1-8, and the opinion

  ofthe Office of Legal Counsel regarding DAPA (see The Department of Homeland Security's

  Authority to Prioritize Removal of Certain Aliens Unlawfully Present in the United States and to

  Defer Removal of Others, 38 Op. O.L.C. at 1 (2014)(Admin. R.4)("OLC Op.")).

         A. History of Deferred Action

         "The Government of the United States has broad, undoubted power over the subject of

  immigration and the status ofaliens." Arizona v. United States. 567 U.S. 387, 394(2012). That

  power derives from the Constitution, which authorizes Congress "[t]o establish a uniform Rule

  of Naturalization," U.S. Const, art. I., § 8, cl. 4,and from the Government's "inherent power as

  sovereign to control and conduct relations with foreign nations." Arizona. 567 U.S. at 395.

  Acting under this authority, the Government has created an "extensive and complex" statutory

  and regulatory regime governing, among other things, who may be admitted to the United States,

  who may work here, and who may be removed from the country. Id;s^ id at 395-97.

         Not all "removable" aliens are, in fact, deported from this country. Immigration officials

  "cannot act against each technical violation ofthe statute[s they are] charged with enforcing,"

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  but must determine which enforcement actions are worthwhile. Heckler v. Chanev.470 U.S.

  821,831 (19851: Amaio v. Obama.797 F.Sd 11.15-16(D.C. Cir. 2015). "A principal feature of

  the removal system is the broad discretion exercised by immigration officials," who "as an initial

  matter, must decide whether it makes sense to pursue removal at all," and,"[i]f removal

  proceedings commence," may decide whether removable aliens warrant asylum or "other

  discretionary relief allowing them to remain in the country or at least to leave without formal

  removal." Arizona. 567 U.S. at 396; see also Reno v. Am.-Arab Anti-Discrimination Comm..

  525 U.S. 471,483(1999)("AAADC")(observing that throughout the removal process,

  immigration officials have "discretion to abandon the endeavor"). Immigration officials'

  enforcement discretion is a practical necessity as well as a legal reality: By one recent estimate,

  there are approximately 11.3 million undocumented aliens present in the United States, of whom

  DHS has the resources to remove fewer than 400,000 per year—about 3.5 percent ofthe total.

 (OLC Op. at 1.)

         Over the years. Congress and the Executive Branch have developed a number of means

  by which immigration officials may exercise their discretion not to deport removable aliens.

  "Some ofthese discretionary powers have flowed from statute," such as "parole,"^8 U.S.C.

  § 1182(d)(5)(A), and "temporary protected status,"      id. § 1254a. Regents. 2018 WL 339144,

  at *2; see also, e.g.. 8 U.S.C. § 1229b (cancellation ofremoval); id § 1229c (voluntary

  departure). Others, such as "deferred enforced departure" or "extended voluntary departure,"

  have been ad hoc exercises of executive authority, grounded in the Executive Branch's

  responsibility for conducting foreign relations and enforcing immigration laws, rather than in

  express congressional authorization. Regents. 2018 WL 339144, at *2; OLC Op. at 12 & n.5.
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          The cases before this court concern one such form of discretionary relief. "Deferred

   action" is a longstanding practice by which the Executive Branch exercises its discretion to

   abandon, or to decline to undertake, deportation proceedings "for humanitarian reasons or simply

   for its own convenience." AAADC.525 U.S. at 484; see also Amaio.797 F.3d at 16

  ("'[DJeferred action'... entails temporarily postponing the removal ofindividuals unlawfully

   present in the United States."). By granting a removable alien deferred action, immigration

   officials convey that they do not currently intend to remove that individual from the country. As

   such, deferred action offers the recipient some assurance—^however non-binding, unenforceable,

   and contingent on the recipient's continued good behavior—^that he or she may remain, at least

   for now,in the United States. Additionally, recipients of deferred action may apply for

   authorization to work legally in the United States, provided that they "establish[] an economic

   necessity for employment." 8 C.F.R. § 274a.l2(c)(14); see also 8 U.S.C. § 1324a(h)(3)

  (excluding from the definition of"unauthorized aliens," who may not be knowingly employed in

   the United States, aliens "authorized to be ... employed ... by the Attorney General").

   Deferred action does not, however, confer lawful immigration status, a pathway to citizenship, or

   a defense to removal, and is revocable by immigration authorities. United States v. Arrieta. 862

   F.3d 512,514(5th Cir. 2017); Ariz. Dream Act Coal, v. Brewer. 757 F.3d 1053,1058(9th Cir.

   2014). (2012DACAMemoat3.)

          "Although the practice of granting deferred action 'developed without express statutory

   authorization,' it has become a regular feature ofthe immigration removal system that has been

   acknowledged by both Congress and the Supreme Court." (OLC Op. at 13 (quoting AAADC.

  525 U.S. at 484).) DHS and its predecessor, the Immigration and Naturalization Service, have

   employed deferred action and similar discretionary-relief programs, such as "nonpriority status"



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   and "extended voluntary departure," since at least the 1960s. Arpaio. 797 F.3d at 16 (citing OLC

   Op. at 7-8, 12-13). (Br. of Amicus Curiae Former Federal Immigration and Homeland Security

   Officials(Dkt. 198-1)("Former Fed. Officials Amicus Br.") at 6-11; Andorra Bruno et al., Cong.

   Res. Serv., Analysis of June 15,2012 DHS Memorandum,Exercising Prosecutorial Discretion

   with Respect to Individuals Who Came to the United States as Children, at 20-23 (July 13,

  2012), https://edsource.org/wp-content/uploads/old/Deferred-Action-Congressional-Research-

   Service-Reportl.pdf("CRS Rep.").) These programs were used to provide relief to, among

   dozens ofexamples,refugees from war-tom and communist countries; spouses and children of

   aliens granted legal status under the Immigration Reform and Control Act of 1986, Pub. L. No.

  99-603,100 Stat. 3359; aliens eligible for relief under the Violence Against Women Act

  ("YAWA")or the Victims of Trafficking and Violence Protection Act of 2000; foreign students

  affected by Hurricane Katrina; and certain widows and widowers of U.S. citizens. (OLC Op. at

   14-17; Former Fed. Officials Amicus Br. at 8-10.)

          Congress has repeatedly ratified immigration officials' practice of according deferred

  action to certain aliens without lawful immigration status. See, e.g., 8 U.S.C. § 1151 note

  (certain immediate family members of certain alien U.S. combat veterans are "eligible for

  deferred action, advance parole, and work authorization"); id. § 1154(a)(l)(D)(i)(II)(VAWA

  petitioners "eligible for deferred action and work authorization"); id § 1227(d)(2)(denial of

  administrative stay ofremoval "shall not preclude the alien from applying for ... deferred

  action"); USA PATRIOT Act of2001,Pub. L. No. 107-56,§ 423(b), 115 Stat. 272,361 (certain

  immediate family members oflawful permanent residents killed in the terrorist attacks of

  September 11, 2001,"may be eligible for deferred action and work authorization").




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          B. DACAandDAPA

          On June 15, 2012,then-DHS Secretary Janet Napolitano issued the 2012 DACA Memo,

   which stated that DHS would consider granting deferred action to certain individuals without

   lawful immigration status who entered the United States as children. (2012 DACA Memo at 1.)

   Secretary Napolitano stated that DHS was implementing this program as an "exercise of

   prosecutorial discretion" in the enforcement ofimmigration laws, to "ensure that...

   enforcement resources are not expended on ...low priority cases." (Id.) Under the 2012 DACA

   Memo,individuals were eligible for consideration for deferred action ifthey(1)"came to the

   United States under the age of sixteen";(2)had "continuously resided in the United States for

   a[t] least five years preceding the date ofthis memorandum and [were] present in the United

   States" on that date;(3) were "in school," had "graduated from high school," had obtained

   GEDs,or were honorably discharged veterans ofthe Armed Forces or Coast Guard;(4)had not

   been convicted offelonies, significant misdemeanors, or multiple misdemeanors, or been

   deemed to "otherwise pose[] a threat to national security or public safety"; and(5) were not

   above the age ofthirty. (Id.) DACA applications from individuals meeting these criteria would

   be evaluated "on an individual" or "case-by-case" basis and would not necessarily be "granted in

   all cases." (Id. at 2.) The 2012 DACA Memo "confer[red] no substantive right, immigration

   status or pathway to citizenship." (Id at 2-3.)

          In late 2014,DHS announced the DAPA program, which would have granted deferred

   action to certain parents of U.S. citizens and lawful permanent residents. (Mem.from Jeh

   Charles Johnson, Sec'y of DHS,Exercising Prosecutorial Discretion with Respect to Individuals

   Who Came to the United States as Children and with Respect to Certain Individuals Who Are the

   Parents of U.S. Citizens or Permanent Residents(Nov. 20,2014)(the "2014 DAPA Memo")

  (Admin R. 40).) As part ofthat program,then-DHS Secretary Jeh Johnson directed U.S.
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   Citizenship and Immigration Services("USCIS")"to establish a process, similar to DACA,for

   exercising prosecutorial discretion through the use of deferred action, on a case-by-case basis,"

   to certain individuals who,among other things, lacked formal immigration status and had a son

   or daughter who was a U.S. citizen or lawful permanent resident. (Id. at 1.) Secretary Johnson

   also announced that the DACA program would be expanded by(1)removing the requirement

   that DACA applicants be under the age of30 as of June 2012;(2)extending the duration ofthe

   deferred action and work authorization obtained through the program from two to three years;

   and(3)adjusting the date-of-entry requirement to open DACA to individuals brought to the

   United States between June 15,2007, and January 1, 2010. (Id. at 3-4(the"DACA

   Expansion").)

          C. The Texas Litigation

          Following DHS's issuance ofthe 2014 DAPA Memo,Texas and 25 other states filed suit

   in the U.S. District Court for the Southern District of Texas, alleging that the DAPA program

   violated the APA and the Take Care Clause ofthe U.S. Constitution, U.S. Const, art. II, § 3. See

   Texas v. United States. 86 F. Supp. 3d 591,598(S.D. Tex. 2015). On February 16, 2015, after

   concluding that Texas and its fellow plaintiffs had standing to sue, Judge Andrew Hanen

   determined that they were likely to succeed on the merits oftheir claim that DAPA constituted a

  "legislative" or "substantive" rule that, under the APA,should have been made through notice-

  and-comment rulemaking procedures. Id. at 664-72. In particular. Judge Hanen foimd that the

  2014 DAPA Memo,"[a]t a minimum,...'severely restrict[ed]' any discretion that Defendants

  argue exists" in the adjudication ofDAPA applications, and that DHS had not genuinely

  exercised discretion in reviewing DACA applications. Id. at 669 & n.lOl. The court issued a

  nationwide injunction against the implementation of both the DAPA program and the DACA

  Expansion. Id. at 677-78.

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          The Fifth Circuit denied a stay ofthe preliminary injunction, 787 F.3d 733,743(5th Cir.

   2015), and affirmed the district court on two independent, alternative grounds, 809 F.3d 134,178

  (5th Cir. 2015)(revised). First, the Fifth Circuit upheld the district court's ruling that the

   plaintiff states were likely to prevail on the merits oftheir claim that the DAPA program was

   invalid because it was not developed through notice-and-comment rulemaking. See id. at 170-

   78. In particular, the Fifth Circuit found that Judge Hanen did not clearly err in finding that

  "[njothing about DAPA genuinelv leaves the agency and its [employees] free to exercise

   discretion," based partly on evidence that supposedly showed that USCIS exercised little case-

   by-case discretion in adjudicating DACA applications. Id. at 172(quoting 86 F. Supp. 3d at 670

  (alterations in original^: see id. at 172-78.

          Second,the Fifth Circuit concluded that the plaintiff states were likely to prevail on the

   merits oftheir claim that the DAPA program was substantively arbitrary and capricious because,

   in that court's view, the program was contrary to the INA. See id. at 178-86. The Fifth Circuit

   observed that "Congress has enacted an intricate process for illegal aliens to derive a lawful

   immigration classification from their children's immigration status," in the form offamily-

   preference visas, id at 179, and cancellation ofremoval and adjustment of status, id, at 180.

   While admitting that DAPA did not "confer the full panoply of benefits that a visa gives," the

   Fifth Circuit held that DAPA nevertheless conflicted with these statutory forms ofrelief by

   permitting "illegal aliens to receive the benefits oflawful presence" without meeting the

   stringent requirements applicable to these provisions. See id, at 180. Similarly, the Fifth Circuit

   held that DAPA conflicted with the INA by providing an easier path to "lawful presence" and

   work authorization for approximately four million undocumented immigrants—a question of

   great national importance that Congress could not have intended to delegate implicitly to DHS.



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   See id at 180-81. The Fifth Circuit acknowledged that there was a long history of discretionary-

   relief programs but held that past practice was not dispositive ofDAPA's legality and

   distinguished DAPA from past programs on the grounds that such programs were "'done on a

   country-specific basis, usually in response to war, civil unrest, or natural disasters,'" id. at 184

  (quoting CRS Rep. at 9); used as a "bridge[] from one legal status to another," id; or "interstitial

   to a statutory legalization scheme," such as the Family Faimess program enacted by the Reagan

   and George H.W. Bush Administrations, id at 185. Accordingly,"DAPA [wa]s foreclosed by

   Congress's careful plan... and therefore was properly enjoined." Id at 186.

          The Supreme Court granted the Government's petition for a writ of certiorari, 136 S. Ct.

  906(2016), and affirmed the decision ofthe Fifth Circuit by an equally divided court, 136 S. Ct.

   2271 (Mem.).

          D. The DACA Rescission

          On January 25,2017,the newly inaugurated President Donald Trump issued an executive

   order stating that "[i]t is the policy ofthe executive branch to ...[ejnsure the faithful execution

  ofthe immigration laws ofthe United States," and that "[w]e cannot faithfully execute the

  immigration laws ofthe United States if we exempt classes or categories ofremovable aliens

  from potential enforcement." Exec. Order 13,768, Enhancing Public Safety in the Interior ofthe

   United States (Jan. 25, 2017), 82 Fed. Reg. 8799. Shortly thereafter, then-DHS Secretary John

  F. Kelly issued a memorandum implementing this executive order by rescinding "all existing

  conflicting directives, memoranda, or field guidance regarding enforcement ofour immigration

  laws and priorities for removal," except for the DACA and DAPA programs, which he left in

  place. (Mem.from John F. Kelly, Sec'y, DHS,Enforcement ofthe Immigration Laws to Serve

  the National Interest at 2(Feb. 20,2017)(Admin. R. 230).)



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          Four months later, Secretary Kelly issued another memorandum rescinding DAPA and

   the DACA Expansion in light of"the preliminary injunction in this matter,the ongoing litigation,

  the fact that DAPA never took effect, and our new immigration enforcement priorities." (Mem.

  from John F. Kelly, Sec'y, DHS,Rescission of November 20, 2014, Memorandum Providing for

   Deferred Action for Parents of Americans and Lawful Permanent Residents("DAPA")at 3(June

   15,2017)(Admin. R. 237).) This memo left the original DACA program in place and did not

  affect the remaining three-year grants of deferred action that were issued under the DACA

  Expansion prior to Judge Hanen's issuance ofa preliminary injunction in Texas. (Id. at 2 & n.3).

          Following the rescission ofthe 2014 DAPA Memo,Texas Attorney General Ken Paxton,

  joined by the attorneys-general often other states, wrote to Attorney General Jefferson B.

   Sessions to insist that the Executive Branch rescind the 2012 DACA Memo. (Ltr. from Ken

  Paxton, Att'y Gen. of Tex., to Hon. Jeff Sessions, Att'y Gen. ofthe U.S.(June 29,2017)

  (Admin. R. 238).) Paxton threatened that if DHS did not stop issuing or renewing deferred

  action and work authorization under DACA or the DACA Expansion, the plaintiff states would

  amend their complaint in the Texas litigation "to challenge both the DACA program and the

  remaining Expanded DACA permits." (Id at 2.) If, however. Defendants agreed to rescind the

  2012 DACA Memo and to cease "renew[ing] or issu[ing] any new DACA or Expanded DACA

  permits in the future," the plaintiffs would voluntarily dismiss their complaint. (Id)

          On September 5,2017, Defendants announced that the DACA program would be brought

  to a gradual end. In an undated letter (the "Sessions Letter"), the Attorney General wrote to

  then-Acting DHS Secretary Elaine C. Duke to "advise that[DHS]should rescind" the 2012




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   DACA Memo.^ (Sessions Ltr.) The Attorney General opined that DACA was unlawful,

   unconstitutional, and likely to be invalidated in court:

                   DACA was effectuated by the previous administration through
                   executive action, without proper statutory authority and with no
                   established end-date, after Congress' repeated rejection of proposed
                   legislation that would have accomplished a similar result. Such an
                   open-ended circumvention of immigration laws was an
                   imconstitutional exercise ofauthority by the Executive Branch. The
                   related Deferred Action for Parents of Americans and Lawful
                   Permanent Residents(DAPA)policy was enjoined on a nationwide
                   basis in a decision affirmed by the Fifth Circuit on the basis of
                   multiple legal grounds and then by the Supreme Court by an equally
                   divided vote. Then Secretary of Homeland Security John Kelly
                   rescinded the DAPA policy in June. Because the DACA policy has
                   the same legal and constitutional defects that the courts recognized
                   as to DAPA, it is likely that potentially imminent litigation would
                   yield similar results with respect to DACA.

  (Id.(citation omitted).)

           Thereafter, Acting Secretary Duke issued a memorandum (the"DACA Rescission

   Memo")instructing her subordinates to "execute a wind-down ofthe program." (DACA

   Rescission Memo at 1.) Acting Secretary Duke briefly summarized the creation ofthe DACA

   and DAPA programs and stated that, although the DACA program "purported to use deferred

   action—an act of prosecutorial discretion meant to be applied only on an individualized case-by-

   case basis,""USCIS has not been able to identify specific denial cases where an applicant

   appeared to satisfy the programmatic categorical criteria as outlined in the [2012 DACA Memo]

   but still had his or her application denied based solely upon discretion." (Id at 2& n.l.) Acting

   Secretary Duke then described the history ofthe Texas litigation, noting that the Fifth Circuit had

   affirmed the injimction against the implementation ofthe DAPA program based on the finding




  ^ While the Sessions Letter is not dated, the bookmarks in the electronic PDF file ofthe Administrative Record
  ascribe a date of September 4,2017,to this letter.


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  "that DACA decisions were not truly discretionary," and observed that Secretary Kelly had acted

  to end categorical or class-based exemptions of aliens from potential enforcement ofthe

  immigration laws and to rescind the DAPA program while leaving the DACA program

  "temporarily ... in place." (Id. at 2;^id at 2-3.)

         The Acting Secretary then noted that Texas and several other states had threatened to

  challenge the DACA program, and she briefly summarized the Attorney General's opinion that

  DACA was unconstitutional, unlawful, and likely to be struck down because it shared "the same

  legal and constitutional defects that the courts recognized as to DAPA." (Id at 3(quoting

  Sessions Ltr.).) "Taking into consideration the Supreme Court's and the Fifth Circuit's rulings in

  the ongoing litigation, and the September 4,2017 letter jfrom the Attorney General," she

  concluded,"it is clear that the June 15, 2012, DACA program should be terminated." (Id at 4.)

         In light of"the complexities associated v^th winding down the program," however.

  Acting Secretary Duke directed that the program should be wound down gradually. (Id) Initial

  applications, renewal requests, and associated applications for work authorization that had been

  "accepted" by DHS by September 5,2017, would be adjudicated "on an individual, case-by-case

  basis." (Id) Likewise, all DACA renewal requests and associated applications for work

  authorization submitted by "current beneficiaries whose benefits will expire between [September

  5,2017] and March 5, 2018," would be adjudicated, provided that these requests were "accepted

  by[DHS]as of October 5,2017." (Id) DHS would, however,"reject all DACA initial requests

  and associated applications for[work authorization] filed after the date ofthis memorandum"

  and "all DACA renewal requests and associated applications for [work authorization] filed

  outside ofthe[se] parameters." (Id) Existing DACA benefits would not be terminated




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   immediately but would not be renewed, and DHS would no longer approve further applications

  for advance parole." (IdJ

          E. Procedural History

          The court will not restate the procedural history ofthese cases prior to November 2017,

   which is set forth in the court's November 9 Memorandum and Order. The court will, however,

   provide the following timeline ofrecent developments in these cases.

          On December 11,2017,the Batalla Vidal Plaintiffs filed their Third Amended Complaint

  (Dkt. 113), which largely tracked their Second Amended Complaint but added a claim that

   Defendants Nielsen and Sessions violated the Due Process Clause ofthe Fifth Amendment by

   rejecting DACA renewal applications that(1) were promptly mailed but received by USCIS after

   October 5,2017, due to U.S. Postal Service delays;(2) were delivered to USCIS by October 5,

   2017, but rejected because they arrived too late in the day; or(3)contained "minor perceived or

   actual clerical errors." (Third Am.Compl.(Dkt. 113)K 203;^id. KK 199-205.)

          On December 20,2017,the Supreme Court vacated the decision ofthe U.S. Court of

   Appeals for the Ninth Circuit denying Defendants' petition for a writ of mandamus to the

   Northern District of California in similar litigation challenging Defendants' decision to end the

   DACA program. In re United States. No. 17-801 (U.S. Dec. 20,2017)(per curiam). The

   Supreme Court held that the "Government[has made] serious arguments that at least portions of

   the District Court's order are overly broad" and that,"[ujnder the specific facts of[that] case,"

   the district court should have resolved the Government's arguments that the decision to rescind

  the DACA program was not subject to judicial review before ordering the Government to

   produce a complete administrative record. Id (slip op. at 3). The Court suggested that the

   district court"may consider certifying that ruling for interlocutory appeal under 28 U.S.C.

  § 1292(b)if appropriate." Id,(slip op. at 4).
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           One week later, the U.S. Court of Appeals for the Second Circuit denied Defendants'

   petition for a writ of mandamus to this court and lifted its stay of record-related orders entered by

   this court and by Magistrate Judge James Orenstein. (Dec. 27,2017, USCA Order(Dkt. 210).)

   The Second Circuit rejected Defendants' position that they could unilaterally determine which

   portions ofthe administrative record the court could consider, and determined that, in light ofthe

  "strong suggestion that the record before the [District Court] was not complete," plaintiffs were

   entitled to discovery as to whether Defendants had produced a full administrative record. (Id. at

  2(quoting Dopico v. Goldschmidt. 687 F.2d 644,654(2d Cir. 1982))(alteration in original).)

   Rejecting Defendants' contention that compliance with this court's and Judge Orenstein's

   record-related orders would burden the Executive Branch,the Second Circuit noted that this

   court had repeatedly limited the scope ofthose orders, such that, as the Government conceded,

  "the number of documents, covered by the order, as modified, is approximately 20,000, a far

   smaller number than the Government's papers led this court to believe." (Id. at 3-4.) The

   Second Circuit distinguished In re United States on the grounds that this court had already

   considered and rejected Defendants'jurisdictional arguments, clarified that the orders in question

   did not apply to White House documents, and limited the orders to apply to dramatically fewer

   documents than were at issue in the cases before the Northern District of California. (Id. at 4-5.)

           Defendants then moved for the court to certify its November 9 Memorandum and Order

  for interlocutory appeal pursuant to 28 U.S.C. § 1292(b). (Mot. to Certify Order for Appeal

  (Dkt. 219).) They argued that certification would "materially advance the disposition ofthe

   litigation" by either "terminat[ing] the litigation" or "clarify[ing] the rights ofthe parties" and

  "limiting the claims going forward in this litigation." (Mem.in Supp. of Mot. to Certify Order

  for Appeal(Dkt. 219-1) at 14.) On January 8,2018,the court granted Defendants' motion to



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   certify the November 9 Memorandum and Order for interlocutory appeal because, among other

   things, there was "substantial ground for difference ofopinion" on the question of whether the

   DACA rescission was committed to agency discretion by law. (Jan. 8, 2018, Mem.& Order

  (Dkt. 233)at 4-6.) Defendants then argued that the court should delay an oral argument

   scheduled for January 18,2018, pending the Second Circuit's consideration ofthe interlocutory

   appeal, as "all(or at least most)of[the] district-court proceedings [regarding Defendants'

   motions to dismiss. Plaintiffs' motions for a preliminary injunction, and the Batalla Vidal

   Plaintiffs' motion for class certification] will be unnecessary ifthe Second Circuit accepts some

   or all ofthe government's arguments on jurisdiction and justiciability." (Defs. Jan. 11, 2018,

   Ltr.(Dkt. 236)at 1.) Before the Second Circuit, however. Defendants abruptly changed tack,

   agreeing with Plaintiffs "that holding the petition [for interlocutory appeal] in abeyance would be

  the most efficient course of action," pending this court's consideration of Defendants' motion to

   dismiss and Plaintiffs' motions for preliminary relief and class certification. (Reply in Supp. of

  Pet. for Permission to Appeal(Dkt. 28,Nielsen v. Vidal. No. 18-122(2d Cir.)) at 2.)^

            On January 9,2018,the Northern District of California denied Defendants' motion to

   dismiss Regents and its companion cases and granted the plaintiffs a preliminary injunction.

  (Nov. 9,2018, Order Denying FRCP 12(b)(1) Dismissal and Granting Provisional Relief(Dkt.

  234, Regents).) Like this court. Judge William Alsup rejected Defendants' contentions that the

   decision to end the DACA program was committed to agency discretion by law and that 8 U.S.C.

  § 1252(g) barred judicial review ofthat decision. (Id at 18-23.) Judge Alsup further concluded



  ^ Defendants' new litigation position is thus directly at odds with its arguments for why this court should certify the
   November 9 Memorandum and Order. The court is uncertain whether the inconsistency in Defendants' position
  should be ascribed to lack of coordination between the Department of Justice's Federal Programs Branch and Civil
   Appellate staff, or instead to a deliberate attempt to delay the resolution ofthese cases. In any event, the court is not
   pleased that Defendant have requisitioned judicial resources to decide a motion for reliefthat they seem not to have
   actually wanted.

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   that the plaintiffs were entitled to a preliminary injunction because they were likely to prevail on

   the merits oftheir claim that the decision to rescind the DACA program was substantively

   "arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law," because

   that decision "was based on a flawed legal premise" that the DACA program was illegal. (Id at

   29;      id at 29-38.) Judge Alsup rejected Defendants' argument that"DHS acted within its

   discretion in managing its litigation exposure in the Fifth Circuit, weighing its options, and

   deciding on an orderly wind down ofthe program so as to avoid a potentially disastrous

   injunction in the Fifth Circuit" as a "classic post hoc rationalization" and, in any event,

   insufficient to support the decision to rescind the DACA program because Defendants had

   neither considered defenses to Texas's potentially imminent suit nor weighed supposed litigation

   risks against"DACA's programmatic objectives as well as the reliance interests ofDACA

   recipients." (Id at 38-43.)

   II.      LEGAL STANDARD

           "[A] preliminary injunction is an extraordinary and drastic remedy,one that should not be

   granted unless the movant, by a clear showing, carries the burden of persuasion." Mazurek v.

   Armstrong. 520 U.S. 968,972(1997)(per curiam)(quoting 11A Charles A. Wright et al.,

   Federal Practice and Procedure § 2948, at 130(2d ed. 1995))(emphasis omitted). A party

  "seeking a preliminary injunction must establish that he is likely to succeed on the merits; that he

   is likely to suffer irreparable harm in the absence of preliminary relief; that the balance of

   equities tips in his favor; and that an injunction is in the public interest." Winter v. Nat. Res.

   Def. Council. Inc.. 555 U.S. 7, 20(2008).^ To establish a likelihood ofsuccess on the merits, the


 'The Second Circuit has, at times, formulated this standard differently. For example, a party seeking a preliminary
  injunction may demonstrate the existence of"a serious question going to the merits to make them a fair ground for
 trial, with a balance of hardships tipping decidedly in [its] favor," rather than a likelihood of success on the merits.
  Citigroup Global Mkts.. Inc. v. VCG Special Opportunities Master Fund Ltd.. 598 F.3d 30,35(2d Cir. 2010); see

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   party seeking an injunction "need only make a showing that the probability of his prevailing is

   better than fifty percent." Ens v. Smith. 849 F,2d 80, 82(2d Cir, 1988); see also Nken v. Holder.

   556 U.S. 418,434(2009)("It is not enough that the chance of success on the merits be 'better

   than negligible.'"(quoting Sofinet v. INS. 188 F.3d 703,707(7th Cir. 1999))). When an

   injunction is "mandatory," however—^that is, when the injunction "alter[s] the status quo by

   commanding some positive act"—^the movant must demonstrate a "clear" or "substantial"

   showing of likelihood of success. Tom Dohertv Assocs.. Inc. v. Saban Entm't. Inc.. 60 F.3d 27,

   34(2d Cir. 1995). To obtain a mandatory injunction, a movant must also "make a strong

   showing of irreparable harm." State ofNew York ex rel. Schneiderman v. Actavis PLC.787

   F.3d 638,650(2d Cir. 2015)(internal quotation marks and citations omitted).

  IIL       DISCUSSION

            For the reasons that follow. Plaintiffs have demonstrated that they are entitled to a

   preliminary injunction against implementation ofthe DACA Rescission Memo.

            A. Likelihood of Success on the Merits

            First, Plaintiffs are substantially likely to succeed on the merits oftheir claim that

   Defendants' decision to end the DACA program was substantively arbitrary and capricious.^


   also id. at 35-38 (holding that this "serious questions" standard survives Winter and other Supreme Court cases
   applying a "likelihood ofsuccess on the merits" standard). The Second Circuit's "serious questions" standard does
   not apply, however,"[w]hen ... a preliminary injunction will affect government action taken in the public interest
   pursuant to a statute or regulatory scheme." Friends ofthe East Hampton Airport. Inc. v. Town of East Hampton.
   841 F.3d 133, 143(2d Cir. 2016)(internal quotation marks and citation omitted). The court need not decide whether
   the more permissive "serious questions" standard applies here, as Plaintiffs concede that the "likelihood ofsuccess"
   standard applies here and have met this standard. See generallv Haitian Ctrs. Council. Inc. v. McNarv.969 F.2d
   1326, 1338-39(2d Cir. 1992)("serious questions" standard applies when challenged governmental action is not
   specifically authorized by statute or regulation), cert, granted and judgment vacated as moot. Sale v. Haitian Ctrs.
   Council. Inc.. 509 U.S. 918(1993).

  ® The court need not decide whether the injunction sought by Plaintiffs is "mandatory," in that it would compel
  Defendants to take affirmative acts to adjudicate DACA applications and renewal requests, or non-mandatoiy, in
  that it would only preserve the status quo as ofSeptember 4,2017. Because Plaintiffs have demonstrated a "clear"
  or "substantial" likelihood ofsuccess on the merits, they are entitled to a preliminary injunction regardless ofthe
  standard that applies.


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   Plaintiffs contend that this decision violated APA § 706(2)(A) because, among other things, it

   was based on an erroneous legal conclusion that DACA was unlawful, failed to consider

   important aspects ofthe problem, and was internally contradictory. (BV Pis. Mot. at 11-20, 23-

   27; State Pis. Mot. at 5-13.) Defendants aver, however, that the decision reflects a reasonable

   assessment of litigation risk. (Defs. Opp'n at 1,10-13, 15-24.) Based on the record before it, the

   court concludes that Plaintiffs, not Defendants, are substantially likely to be correct.

                      1. The Stated Rationale for Rescinding DACA Appears To Be Arbitrarv and
                          Capricious

          Plaintiffs have identified at least three respects in which Defendants' decision to rescind

  the DACA program appears to be arbitrary, capricious, and an abuse of discretion. First, the

   decision rests on the erroneous legal conclusion that the DACA program is unlawful and

   unconstitutional. Second,the decision rests on the erroneous factual premise that courts have

   determined that the DACA program violates the Constitution. Third, the stated rationale for that

   decision is internally contradictory, as Defendants have continued to grant DACA renewal

  requests despite ending the DACA program on the grounds that it is, by their lights,

   unconstitutional. The court addresses each ofthese reasons in turn.

                              a. The Decision Relies on the Legally Erroneous Premise that DACA
                                 Is Illegal

          An agency decision that is based on an erroneous legal premise cannot withstand

  arbitrary-and-capricious review.        5 U.S.C. § 706(2)(A). It is well-established that when

  "[agency] action is based upon a determination oflaw as to which the reviewing authority ofthe

  courts does come into play, an order may not stand if the agency has misconceived the law."

  Chenerv T 318 U.S. at 94. Accordingly, numerous courts have recognized that agency action

  based on a misconception ofthe applicable law is arbitrary and capricious in substance. See,

  e.g.. Yale-New Haven Hosp. v. Leavitt. 470 F.3d 71,86-87(2d Cir. 2006); Transitional Hosps.

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   Corp. of La.. Inc. v. Shalala, 222 F.3d 1019, 1029(D.C. Cir. 2000)(Garland, J.); see also

   Planned Parenthood Fed, of Am.. Inc. v. Heckler. 712 F.2d 650,666(D.C. Cir. 1983)(Bork, J.,

   concurring in part and dissenting in part)("If a regulation is based on an incorrect view of

   applicable law,the regulation cannot stand as promulgated       "(internal quotation marks and

   citation omitted)). That is no less true when an agency takes some action based on an erroneous

   view that the action is compelled by law, notwithstanding that the agency could have taken the

   same action on policy grounds. "An agency action, however permissible as an exercise of

   discretion, cannot be sustained 'where it is based not on the agency's ovm judgment but on an

   erroneous view ofthe law.'" Sea-Land Serv.. Inc. v. Dep't of Transp.. 137 F.3d 640,646(D.C.

   Cir. 1998)(quoting Prill v. NLRB.755 F.2d 941,947(D.C. Cir. 1985)). This rule is consistent

   with cases from outside the administrative-law context, which make clear that a decision based

   on "an erroneous view ofthe law" is "by definition" or "necessarily" an abuse of discretion.

   Koon V. United States. 518 U.S. 81, ICQ (1996); Cooter & Gell v. Hartmarx Corp.. 496 U.S. 384,

  405 (1990). This rule also ensures that agencies are accountable for their decisions: If an agency

   makes a decision on policy grounds, it must say so, not act as if courts have tied its hands. The

  court therefore considers whether Defendants' decision to rescind the DACA program relied on




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   an erroneous view ofthe law. This review is de novo. 5 U.S.C. § 706; J. Andrew Lange. Inc. v.

   FAA.208 F.3d 389, 391 (2d Cir. 2000).^

            Fairly read, the Sessions Letter and DACA Rescission Memo indicate only that

   Defendants decided to end the DACA program because they believed that it was illegal. (While

   Defendants now argue that the decision was based on "litigation risk," the record does not

   support this contention, as the court explains below.) The DACA Rescission Memo offers no

   independent legal reasoning as to why Defendants believed the DACA program to be unlawful,

   so the court turns to the Sessions Letter. In that letter, the Attorney General offered two

   discernible bases for his opinion that the DACA program violated the law and should end: first,

   that it was unconstitutional, and second, that it "has the same legal and constitutional defects that

   the courts recognized as to DAPA." (Sessions Ltr.) Neither conclusion is sustainable.




 'While in other contexts, an agency's interpretation ofa statute it is charged with administering may be entitled to
   deference. Chevron. U.S.A.. Inc. v. Nat. Res. Def. Council. Inc.. 467 U.S. 837, 842-43 (1984), Defendants have not
   argued that their interpretation ofthe legality ofthe DACA program is entitled to formal or controlling deference.
   That is for good reason. Because neither the Sessions Letter nor the DACA Rescission Memo cany the "force of
   law," they do not warrant Chevron deference. United States v. Mead Corp.. 533 U.S. 218,226-27(2001).
   Moreover, Defendants' views about the legality ofthe DACA program turn not only on whether that program was
   consistent with the INA (their interpretations of which are entitled to deference, see INS v. Aguirre-Aguirre. 526
   U.S. 415,424-25(1999)), but also whether that program constituted a "substantive rule" under the APA. Because
   Defendants are not charged with implementing the APA,their views about whether the DACA program should have
   been implemented through notice-and-comment rulemaking are not entitled to deference. See Shell Offshore Inc. v.
   Babbitt. 238 F.3d 622,627(5th Cir. 2001). Finally, it almost goes without saying that, to the extent Defendants
   determined that the DACA program was unconstitutional, that determination does not warrant Chevron deference.

   Some academic commentators have offered interesting arguments as to why courts should review deferentially
   Defendants' decision to end the DACA program. See, e.g.. Josh Blackman, Understanding Sessions's Justification
   to Rescind DACA.Lawfare (Jan. 16,2018,8:00 AM), https://www.lawfareblog.com/understanding-sessionss-
   justification-rescind-daca(arguing, based on an "admittedly charitable" reading ofthe Sessions Letter, that Regents
   erred by, among other things, failing to consider how the Attorney General's independent duty to defend the
   Constitution supported his decision to recommend ending the DACA program); Zachary Price, Whv Enioining
   DACA's Cancellation Is Wrong. Take Care Blog (Jan. 12, 2018), https://takecareblog.conL45log/why-enjoining-
   daca-s-cancellation-is-wrong (arguing that "[i]nsofar as DACA was simply an exercise ofenforcement discretion,
   any explanatory burden with respect to its reversal must be minimal"). Defendants themselves have not pressed
   these arguments before this court, arguing instead that, if their decision is indeed subject to judicial review, it should
   be reviewed under the ordinary arbitraiy-and-capricious standard of APA § 706(2)(A). (Defs. Opp'n at 10-11.)


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                               i.   The Attorney General Erred in Concluding that DACA Is
                                    Unconstitutional

          As noted above, the Attorney General concluded that DACA was unconstitutional

   because it"was effectuated by the previous administration through executive action, without

   proper statutory authority and with no established end-date, after Congress' repeated rejection of

   proposed legislation that would have accomplished a similar result" and "an open-ended

   circumvention ofimmigration laws." (Sessions Ltr.) This conclusory statement does not

   support the proposition that DACA is unconstitutional.

          DACA is not unconstitutional simply because it was implemented by unilateral,

   executive action without express congressional authorization. The Executive Branch has wide

   discretion not to initiate or pursue specific enforcement actions. Chaney,470 U.S. at 831-32.

  Immigration officials have particularly "broad discretion" in deciding whom to deport, deriving

   both from the considerations specific to the Executive Branch in the foreign-policy arena,

   Arizona, 567 U.S. at 396, and from the fact that far more removable aliens reside in this country

  than DHS has resources to deport, OLC Op. at 1; see also Adam B. Cox & Cristina M.

   Rodriguez, The President and Immigration Law, 119 Yale L.J. 458,510-19(2009). Every

   modem presidential administration has relied on extra-statutory discretionary-relief programs to

   shield certain removable aliens from deportation. Far from cabining this authority. Congress has

  amended the INA in ways that expressly acknowledge the Executive Branch's power to decline

  to initiate removal proceedings against certain removable aliens. It thus cannot be the case that,

   by recognizing that certain removable aliens represented lower enforcement priorities than

   others, the DACA program violates the Constitution.

          Nor is DACA unconstitutional because it identified a certain category of removable

   aliens—^individuals who were brought to the United States as children, lacked meaningful


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   criminal histories, and had met educational or military-service requirements—as eligible for

   favorable treatment. The court is aware of no principled reason why the Executive Branch may

   grant deferred action to particular immigrants but may not create a program by which individual

   immigrants who meet certain prescribed criteria are eligible to request deferred action. It is

   surely within DHS's discretion to determine that certain categories of removable alien—felons

   and gang members,for example—are better uses ofthe agency's limited enforcement resources

   than law-abiding individuals who entered the United States as children. Indeed, unless deferred-

   action decisions are to be entirely random,they necessarily must be based at least in part on

  "categorical" or "class-based" distinctions.       Arpaio v. Obama. 27 F. Supp. 3d 185, 210

  (D.D.C. 2014)(DACA "helps to ensure that the exercise of deferred action is not arbitrary and

   capricious, as might be the case ifthe executive branch offered no guidance to enforcement

   officials. It would make little sense for a Court to strike down as arbitrary and capricious

   guidelines that help ensure that the Nation's immigration enforcement is not arbitrary but rather

   reflective of congressionally-directed priorities."). The court cannot see how the use ofsuch

   distinctions to define eligibility for a deferred-action program transforms such a program fi-om

   discretionary agency action into substantive lawmaking and(somehow)an encroachment on the

   separation of powers.

          Lastly, DACA is not unconstitutional because, as the Attorney General put it, that

   program was implemented "after Congress' repeated rejection of proposed legislation that would

   have accomplished a similar result." (Sessions Ltr.) The "proposed legislation" to which the

   Attorney General referred would not have "accomplished a similar result" to DACA. The

  DREAM Act, in its many variations, would have offered its beneficiaries a formal immigration

  status and a pathway to lawful permanent residency. See, e.g.. Development, Relief, and



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   Education for Alien Minors Act of2011, S. 952(112th Cong.); Regents, 2018 WL 339144, at 20

   n.l5 (collecting proposed legislation). DAGA,on the other hand, offers only forbearance from

   deportation, along with work authorization, and does not provide an immigration status or a

   pathway to citizenship. (2012 DAGA Memo at 4.)

          Even ifthe DREAM Act had offered benefits similar to those conveyed by DAGA,it

   does not follow that Congress's failure to enact a DREAM Act precluded the Executive Branch

  from enacting the DAGA program. The court does not see how executive action, taken either

  "pursuant to an express or implied authorization of Congress" or "in the absence of either a

  congressional grant or denial of authority," becomes unconstitutional simply because Congress

   has considered and failed to enact legislation that would accomplish similar ends. See

   Yoxmgstown Sheet & Tube Go. v. Sawver,343 U.S. 579,635-37(1952)(Jackson, J.,

  concurring). Fruitless congressional consideration oflegislation is not itselflaw,^U.S. Const,

   art. I, § 7, cl. 2,and is an unconvincing basis for ascertaining the "implied will of Congress" to

   oust the President from acting in the space contemplated by the proposed but un-enacted

  legislation,^Youngstown Sheet & Tube. 343 U.S. at 637(Jackson, J., concurring). It strikes

  the court as improbable that, ifthe President has some authority, any Member of Congress can

   divest the President ofthat authority by introducing unsuccessful legislation on the same subject.

          To the extent the decision to end the DAGA program was based on the Attorney

   General's determination that the program is unconstitutional, that determination was legally

  erroneous, and the decision was therefore arbitrary and capricious. The court does not address

   whether the DAGA program might be unconstitutional on grounds other than those identified by

  the Attorney General, as any such grounds are not fairly before the court.




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                               ii.   The Attorney General Erred in Concluding that DACA Has the
                                     "Same Legal and Constitutional Defects that the Courts
                                     Recognized as to PAPA"

          Nor can the Attorney General's determination that DACA is unlawful rest on the ground

  that "the DACA policy has the same legal and constitutional defects that the courts recognized as

  to DAPA." (Sessions Ltr.) That rationale is arbitrary and capricious not only because it is

   premised on an obvious factual mistake that courts had recognized "constitutional defects" in

   DAPA,as the court explains in the next subsection, but also because it is legally erroneous. The

   Southern District of Texas enjoined the implementation ofthe DAPA program on the groimds

  that DAPA was not promulgated through notice-and-comment rulemaking, and the Fifth Circuit

   affirmed, adding the additional ground for affirmance that DAPA was substantively arbitrary and

   capricious because it conflicted with the INA. The court is unpersuaded that either ground

   applies to DACA.

                                        (I) DACA Was Not a Legislative Rule.

          DACA does not appear to have been a "legislative" rule that was subject to notice-and-

  comment rulemaking. The APA generally requires agencies to make "rules" through notice-and-

  comment procedures, but provides an exception for "interpretative rules, general statements of

   policy, or rules of agency organization, procedure, or practice." 5 U.S.C. § 553. The line

   between legislative rules(which are subject to notice and comment)and non-legislative rules

  (which are not)is not always clear.      Chrvsler Corp. v. Brown.441 U.S. 281, 301-03 (1979);

  Noel V. Chapman. 508 F.2d 1013, 1029-30(2d Cir. 1975)(characterizing this distinction as

  "enshrouded in considerable smog"). In general, however,"legislative rules are those that

  'create new law, rights, or duties, in what amounts to a legislative act.'" Sweet v. Sheahan. 235

  F.3d 80,91 (2d Cir. 2000)(quoting White v. Shalala.7 F.3d 296, 303(2d Cir. 1993)). A rule is



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   legislative if it creates a "binding norm." Bellamo Int'l Ltd. v. FDA.678 F. Supp. 410,412

  (E.D.N.Y. 1988)(quoting Am. Bus Ass'n v. United States. 627 F.2d 525, 529(D.C. Cir. 1980)).

   General statements of policy, on the other hand, do not"change 'existing rights and obligations'"

  ofthose regulated, but instead state the agency's "general policy" or "are rules directed primarily

  at the staff of an agency describing how it will conduct agency discretionary functions." Noel.

  508 F.2d at 1030(quoting Lewis-Mota v. Sec'v of Labor.469 F.2d 478,482(2d Cir. 1972))

  (internal quotation marks and additional citation omitted); see also Chrysler. 441 U.S. at 302

  n.31 ("General statements of policy are statements issued by an agency to advise the public

   prospectively ofthe manner in which the agency proposes to exercise a discretionary power."

  (internal quotation marks and citation omitted)).

          On its face,the 2012 DACA Memo is plainly a "general statement of policy," not a

  substantive rule. That memo described how,as a matter of agency policy, DHS would exercise

  its prosecutorial discretion with respect to a discrete class ofindividuals without lawful

  immigration status, and directed DHS staff to implement procedures to facilitate that exercise of

  discretion. Most importantly, the memo stated that it created no substantive right, that all DACA

  applications would be adjudicated on an individualized basis, and that the agency retained

  discretion to deny or revoke deferred action or work authorization. Based on the text ofthe 2012

  DACA Memo,the court cannot say that the creation ofthe DACA program either "imposed any

  rights and obligations" on DHS or the public, or did not "genuinely [leave] the agency and its

  decisionmakers free to exercise discretion." Clarian Health W.. LLC v. Hargan. 878 F.3d 346,

  357(D.C. Cir. 2017)(internal quotation marks and citation omitted).

          To determine whether a rule is properly classed as "legislative" or as a "general statement

  of policy," some courts have also considered whether the agency has characterized or treated the


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   rule as binding. Id. In determining that the DAPA program constituted a legislative rule, the

   Southern District of Texas focused on the purportedly binding effect that DAPA would have on

  the agency. Texas. 86 F. Supp. 3d at 668-72. Judge Hanen reached that conclusion by

   determining that DACA had been implemented in such a way as to deprive agency employees of

  true discretion to evaluate DACA applications on a case-by-case basis, including that(1)the

  "operating procedures" for implementing DACA were quite long;(2)DACA applications were

   adjudicated by service-center staff, not field-office employees, using a check-the-box form;(3)

   certain DACA denials were subject to review by a supervisor;(4)"there is no option for granting

   DAPA to an individual who does not meet each criterion"; and (5)nearly all DACA applications

   were granted, and those that were denied were uniformly denied for mechanical reasons or fraud.

  Idat669&nn.98-101.


          The court respectfully finds the Southem District of Texas's analysis unpersuasive. First,

  that court appears to have conflated the discretion ofthe agencv with that ofindividual USCIS

  employees. (See Br. for the United States at 68-71, Texas v. United States. 136 S. Ct. 2271

  (2016)(No. 15-674).) The 2012 DACA Memo indicated how DHS would exercise its discretion

   by treating certain individuals as lower priorities for removal. Because the 2012 DACA Memo

   created no substantive rights, it in no way constrained the agency's discretion in the enforcement

  ofimmigration laws,even ifit might have affected how rank-and-file USCIS employees

  reviewed specific requests for deferred action. (See id.) Second, even accepting that the relevant

  focus ofthis inquiry is the discretion of rank-and-file employees, the court views the first four

  factors on which the Southem District of Texas relied as insufficient to support an inference that

  DHS did not exercise discretion in adjudicating DACA applications. As for the fifth factor—^that

  DHS supposedly granted too many DACA applications—^the court finds persuasive the


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   observation by the dissenting judge in the Fifth Circuit that the district court appears to have

   erroneously conflated rejections ofDACA applications, which were made on intake for

   mechanical reasons, and denials, which were made "when a USCIS adjudicator, on a case-by-

   case basis, determines that the requestor has not demonstrated that they satisfy the guidelines for

   DACA or when an adjudicator determines that deferred action should be denied even though the

  threshold guidelines are met." Texas. 809 F.3d at 210(King, J., dissenting). To the contrary, as

   of December 2014, DHS had denied nearly 40,000 DACA applications out ofthe more than

   700,000 applications accepted for processing at USCIS service centers, and rejected more than

  40,000 applications for administrative reasons. Id. at 210 n.44. This rejection rate hardly

  "suggests an agency on autopilot" and is "unsurprising given the self-selecting nature ofthe

   program." Id. at 210 & n.44; see also Arpaio. 27 F. Supp. 3d at 209 n.l3 (noting that similar

   statistics "reflect that...case-by-case review is in operation"). To the extent Defendants rely on

   Texas for the proposition that the DACA program (which was not challenged in that litigation)

   was illegal because it was not made through notice-and-comment rulemaking, such reliance is

   arbitrary and capricious.

                                         (II)DACA Does Not Conflict with the INA

          Nor may Defendants rely on Texas for the proposition that the DACA program conflicts

   with the INA. As noted above,the Fifth Circuit held that the DAPA program was not only

   procedurally invalid, but also substantively arbitrary and capricious because it conflicted with the

  INA. Texas. 809 F.3d at 178-86. That is because, in the view ofthe Fifth Circuit, the INA

   prescribes the exclusive means by which aliens may obtain "lawful immigration classification

  from their children's immigration status," and because Congress could not have intended to

   delegate to DHS the authority to designate approximately four million undocumented


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   immigrants as lawfully present and able to work in this country. S;^ id. To the extent

   Defendants relied, without additional explanation, on this decision as grounds for ending the

   DACA program,they acted arbitrarily and capriciously, for two reasons.

          First, not all the grounds on which the Fifth Circuit decided that DAPA was substantively

  arbitrary and capricious apply to the DACA program. For example, the Fifth Circuit inferred

  that by creating procedures by which alien parents of U.S. citizens may obtain lawful status.

  Congress implicitly prohibited the Executive Branch from granting deferred action and work

  authorization to such individuals based on more permissive criteria. Even if the court were to

  accept that dubious logic, it would not apply to DACA,because there is no analogous procedure

  by which aliens brought to the United States as children may seek to obtain lawful status on that

   basis. (BV Pis. Mot. at 25; Br. of Amicus Curiae Legal Services Organizations(Dkt. 193)at 6.)

  The Fifth Circuit also relied extensively on the magnitude of the DAPA program, reasoning that

  Congress could not have intended the Executive Branch to decide whether more than four

   million undocumented immigrants could obtain deferred action and work authorization. Texas,

  809 F.Sd at 179,181-82, 184 & n.l97. Again, even accepting that proposition, it is not clear

   why it would apply to the DACA program, which is open to far fewer individuals than DAPA

   would have been, and which is roughly the same scale as the Family Fairness program enacted

   by the Reagan and George H.W. Bush Administrations in the 1980s.

          Second,to the extent that the Fifth Circuit's rationale applies to the DACA program,the

  court finds it unpersuasive. It does not follow that by prescribing procedures by which some

  aliens may obtain lawful status. Congress implicitly barred the Executive Branch from granting

  those or other aliens deferred action and work authorization, a relatively meager and unstable set

  of benefits (if, indeed, they can even be described as such). Nor is the court convinced that by


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   expressly recognizing that certain discrete populations of aliens are eligible for deferred action,

   Congress implicitly precluded the Executive Branch from according deferred action to other

   aliens; to the contrary, the court views these enactments as ratifying the Executive Branch's

  longstanding historical practice, rooted in the INA,offorbearing from pursuing deportation

   proceedings against particular aliens and categories of alien. The court respectfully finds the

  Fifth Circuit's attempts to distinguish DAPA from prior discretionary-relief programs

   unpersuasive, as this court does not see what in the ESfA permits immigration officials to accord

  discretionary relief"on a country-specific basis," as a "bridge[] from one legal status to another,"

  or as an adjunct to "a statutory legalization scheme," id at 184, but not to generally law-abiding

  parents of U.S. citizens or lawful permanent residents—or,for that matter, individuals who were

   brought to the United States as children.

          For these reasons, and for the reasons stated by the Office of Legal Counsel,the dissent

  in Texas, and by the Office ofthe Solicitor General in its brief to the U.S. Supreme Court in

  Texas, the court concludes that DACA is lawful and not arbitrary, capricious, or contrary to the

  INA. See Texas. 809 F.3d at 214-18 (King, J., dissenting); OLC Op.; Br. for the United States at

  61-65, Texas v. United States. 136 S. Ct. 2271 (2016)(No. 15-674). Defendants acted arbitrarily

   and capriciously by ending the DACA program based on the erroneous legal conclusion that

  DACA is either unconstitutional or "has the same legal and constitutional defects that the courts

  recognized as to DAPA."

                              b. The Decision Relies on a Factually Erroneous Premise that Courts
                                 Have Determined that DACA Is Unconstitutional

          This conclusion was also arbitrary and capricious because it is based on an obvious

  factual mistake. In concluding that the Southern District of Texas and Fifth Circuit would enjoin

  the continued operation ofthe DACA program. Defendants appear to have relied on the premise

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  that those courts have recognized "constitutional defects ... as to DAPA." (Sessions Ltr.;

  DACA Rescission Memo at 3.) This premise is flatly incorrect. The Southern District of Texas

  enjoined the implementation ofDAPA,and the Fifth Circuit affirmed that injunction, on the

   grounds that DAPA violated the APA. 809 F.3d at 170-86; 86 F. Supp. 3d at 665-72. Both

  courts expressly declined to reach the plaintiffs' constitutional claim that DAPA violated the

   Take Care Clause ofthe U.S. Constitution,s^ U.S. Const, art. II, § 3, or the separation of

   powers. 809 F.3d at 154; 86 F. Supp. 3d at 677. Defendants do not attempt to defend this

  factual premise as correct. (Cf. Defs. Opp'n at 26-27.)

          This error alone is grounds for setting aside Defendants' decision. "[A]n agency decision

   is arbitrary and must be set aside when it rests on a crucial factual premise shown by the

   agency's records to be indisputably incorrect." Mizerak v. Adams.682 F.2d 374, 376(2d Cir.

   1982); see also State Farm,463 U.S. at 43(agency acts arbitrarily and capriciously by "offerpng]

   an explanation for its decision that runs counter to the evidence before the agency"); Citv of

   Kansas Citv. Mo. v. Dep't of Hons. & Urban Dev.. 923 F.2d 188,194(D.C. Cir. 1991)("Agency

   action based on a factual premise that is flatly contradicted by the agency's own record does not

   constitute reasoned administrative decisionmaking, and cannot survive review under the arbitrary

   and capricious standard."). Because neither the Southern District ofTexas nor the Fifth Circuit

  "recognized" any "constitutional defects" in the DAPA policy. Defendants' reliance on this

   erroneous factual premise was arbitrary and capricious.

          Nor was this error harmless. Although judicial review under the APA takes "due accoimt

  ... ofthe rule of prejudicial error," 5 U.S.C. § 706,"the standard for demonstrating lack of

   prejudicial error is strict. 'Agency mistakes constitute harmless error [under APA § 706] only

   where they clearly had no bearing on the procedure used or the substance of decision reached.'"


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   N.Y. Pub. Interest Research Grp. v. Whitman. 321 F.3d 316, 334 n.l3(2d Cir. 2003)(alteration

   in original)(quoting Sierra Club v. U.S. Fish & Wildlife Serv.. 245 F.3d 434,444(5th Cir.

   2001)). That cannot be said here, as the Attorney General's opinion that DAGA was unlawful

   appears to have been based in significant part on hisjudgment that the program was

   unconstitutional and on the Texas courts' decision to enjoin implementation ofDAPA. The

  current record furnishes no basis for this court to conclude that the Attomey General would have

  reached the same conclusion had he correctly understood the holdings ofthe Texas courts.

                                  c. The Decision's Rationale Is Internally Contradictory

           Finally, Defendants' decision to rescind the DACA program was arbitrary and capricious

   because it appears to be internally inconsistent. See, e.g.. Nat'l Res. Def. Council v. U.S.

   Nuclear Regulatory Comm'n. — F.3d —,2018 WL 472547, at *9(D.C. Cir. 2018)("Ofcourse,

   it would be arbitrary and capricious for the agency's decision making to be 'internally

  inconsistent.'"(citation omitted)); Gen. Chem. Com,v. United States. 817 F.2d 844,846(D.C.

   Cir. 1978)(per curiam)(vacating decision based on "internally inconsistent and inadequately

   explained" analysis). Defendants clearly ended the DACA program at least partly because the

   Attomey General viewed the program as unconstitutional.^® (Sessions Ltr.; DACA Rescission




      It is not clear that the Attomey General's views are those ofthe Administration he serves. On September 5,2017,
   President Tmmp tweeted that "Congress now has 6 months to legalize DACA (something the Obama
   Administration was unable to do). Ifthey can't, I will revisit this issue!" (Donald J. Trump,@realdonaldtmmp,
   Twitter.com (Sept. 5, 2017,7:38 PM),https://twitter.eom/realdonaldtmmp/status/905228667336499200.) It is not
   clear how the President would "revisit" the decision to rescind the DACA program ifthe DACA program were, as
   the Attomey General has stated,"an unconstitutional exercise of authority by the Executive Branch." (Sessions Ltr.)
   See Josh Blackman, Tmmp's DACA Decision Defies All Norms: The President's Incompetence Continues to
   Temper His Malevolence. Foreign Policy(Sept. 7, 2017, 1:26 PM),http://foreignpolicy.eom/2017/09/07/tmmps-
   daca-decision-defies-all-norms/. Defendants' contention that the President simply "emphasized the need for
   legislative action and expressed [his] intention to revisit Administration policies on childhood arrivals—^not the
   legality and defensibility ofthe DACA program—if Congress did not timely act"(Defs. Opp'n at 33)is unsupported
   by the text ofthe President's tweet.


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   Memo at 3.)'^ Rather than terminating the program forthwith, however, Acting Secretary Duke

   directed her subordinates to begin a phased "wind-down ofthe program," under which DHS

   would continue to renew DACA applications that were set to expire in the next six months and

   would honor existing DACA benefits until they expired. The means by which Defendants ended

  the DACA program thus appear to conflict with their stated rationale for doing so. Ifthe DACA

   program was, in fact, unconstitutional, the court does not understand (nor have Defendants

   explained) why Defendants would have the authority to continue to violate the Constitution,

   albeit at a reduced scale and only for a limited time.

           It is true but immaterial that the DACA Rescission memo provided that DHS would

   adjudicate all remaining DACA applications and renewal requests "on an individual, case-by-

   case basis." (DACA Rescission Memo at 4.) The 2012 DACA Memo also stated that all DACA

   applications and renewal requests would be considered on an individual, case-by-case basis

  (2012 DACA Memo at 1-3), but, in Defendants' view,that was insufficient to render the

   program lawful. More importantly, if DHS could render the DACA program constitutional by

   adjudicating the remaining DACA applications and renewal requests on an "individual, case-by-

  case" basis, then there was nothing inherently unconstitutional about the DACA program—only

   how rank-and-file USCIS employees were implementing that program—^and a key reason for

  ending that program would disappear.

           Defendants attempt to sidestep this problem by arguing that there was nothing inherently

  contradictory about Acting Secretary Duke's decision to allow the DACA program "to gradually

  sunset" despite having "concem[s] about [the program]'s legality." (Defs. Opp'n at 30.) The



     Defendants' arguments that "Plaintiffs identify nothing contradictory about the Acting Secretary's stated
  justification for the [decision to rescind the DACA program]"(cf Defs. Opp'n at 29-30)are thus once again belied
   by the record.


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   record makes clear, however,that Defendants ended the program because they believed it to be

   unconstitutional and unlawful, not because they had "concem[s]" about its legality. (Sessions

   Ltr.; DACA Rescission Memo at 3-4.) Defendants' post hoc rationalization is thus unavailing.

   At the very least. Defendants' failure to acknowledge and explain the apparent conflict between

   their determination that the DACA program was unconstitutional and their plan to continue

   adjudicating a subset of DACA renewal requests renders their decision arbitrary and capricious.

                      2. Defendants' Alternative Grounds for Upholding the DACA Rescission
                          Are Unpersuasive

          Defendants offer two reasons why the court should uphold the decision to end the DACA

   program. First, they argue, that decision was reasonable in light ofthe risk that the plaintiffs in

   the Texas litigation would amend their complaint to challenge the DACA program and that the

   Southern District of Texas would strike down the DACA program. (E.g., Defs. Opp'n at 11.)

   Second,they argue that the court should construe the Attorney General's legal judgment that the

   DACA program was unlawful as an "independent policy judgment... that immigration

   decisions ofthis magnitude should be left to Congress." (Defs. Opp'n at 25.) Neither argument

   is persuasive.

                              a. The DACA Rescission Cannot Be Sustained on the Basis of
                                 Defendants' "Litigation Risk" Argument

          Defendants frame the decision to end the DACA program as motivated primarily by

   "litigation risk." (Id. at 1,10-13,15-24.) In their view. Acting Secretary Duke considered the

   Government's losses in the Texas v. United States litigation and the threat by some ofthe

   plaintiffs in that litigation to challenge the DACA program and ultimately "concluded that

   maintaining the DACA [program] would, in all likelihood, result in another nationwide

   injunction plunging the policy, and its nearly 800,000 recipients, into immediate uncertainty."



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  (Id. at 11.) That decision, they argue, was reasonable, not arbitrary or capricious,"particularly in

   view ofthe near-certain litigation loss in the pending Texas lawsuit." (Id.)

          The record does not support Defendants' contention that they based their decision on a

   reasonable assessment of litigation risk. As the court has previously noted, the record, fairly

  read, indicates that Defendants ended the DACA program because they believed it to be illegal.

  The only basis for Defendants'"litigation risk" argument is the Attorney General's statement

  that, because DACA shared the flaws of the DAPA program,"it is likely that potentially

  imminent litigation would yield similar results with respect to DACA." (Sessions Ltr.) This is

  too thin a reed to bear the weight of Defendants' "litigation risk" argument. While the court

   must uphold an agency decision "ofless than ideal clarity ... ifthe agency's path may

  reasonably be discerned," Bowman Transp.. Inc. v. Ark.-Best Freight Svs.. Inc., 419 U.S. 281,

  286(1974), the court cannot discern a reasoned assessment of"litigation risk" in this conclusory

  statement. See also Chenerv IT 332 U.S. at 196-97 (stating that the grounds on which an agency

  reaches its decision "must be set forth with such clarity as to be understandable. It will not do for

  a court to be compelled to guess at the theory underlying the agency's action; nor can a court be

  expected to chisel that which must be precise from what the agency has left vague and

  indecisive."). The Administrative Record does not indicate,for example,that the Attorney

   General made any reasoned assessment ofthe likelihood that DACA would be struck down in

   light of its similarities to, or differences from DAPA;that he considered any potential defenses to

   the "potentially imminent litigation"; that he acknowledged contrary rulings by other courts; or

  that he assessed whether Department of Justice resources would be better spent elsewhere. The

   court thus cannot conclude that the Attorney General actually considered "litigation risk" in any




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   meaningful sense. Absent Defendants' post hoc explanations, the court would not have guessed

  that Defendants made their decision for this reason.

           The court views this "litigation risk" rationale as a mere post hoc rationalization, which is

  insufficient to withstand arbitrary-and-capricious review. State Farm.463 U.S. at 50; Burlington

  Truck Lines. 371 U.S. at 168-69. Indeed, it is telling that, to substantiate their argument that the

  DACA rescission was motivated by concem for DACA recipients and a desire to avoid a

  disorderly shut-down ofthe program, Defendants resort to a press release, issued by Acting

  Secretary Duke,that fleshes out her reasons for ending the DACA program. (Defs. Opp'n at 12

  (quoting Press Release, DHS,Statement from Acting Secretary Duke on the Rescission of

  DACA (Sept. 5,2017), https://www.dhs.gov/news/2017/09/05/statement-acting-secretary-duke-

  rescission-deferred-action-childhood-arrivals-daca).) That press release is not in the record,

  however, so the court may not consider it. S^ Overton Park. 401 U.S. at 419-20. While

  Defendants assert that this rationale is reasonably discernible because Plaintiffs addressed it in

  their briefs(Defs. Opp'n at 12), Plaintiffs cannot be faulted for responding to an argument that

  Defendants have made throughout this litigation.

           Even ifthe record indicated that Defendants made their decision based on "litigation

  risk," they acted arbitrarily and capriciously in doing so. The Attorney General's conclusory

  statement that it was "likely that potentially imminent litigation would yield similar results with

  respect to DACA"falls well short ofthe APA's "requirement that an agency provide reasoned

  explanation for its action." Fox Television Stations^ 556 U.S. at 516. For example,the record




     Judge Alsup found in Regents that "[njowhere in the administrative record did the Attorney General or[DHS]
  consider whether defending the program in court would (or would not) be worth the litigation risk." Regents. 2018
  WL 339144, at *23. As such,"[t]he new spin by government counsel is a classic post hoc rationalization," which
  "alone is dispositive ofthe new 'litigation risk' rationale." Id


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   before the court offers no indication that Defendants considered why the Southern District of

   Texas would strike down the DACA program (which was not initially challenged in Texas and

   which lacked certain attributes ofthe DAPA program that were critical to the Fifth Circuit's

   decision that that program was contrary to the INA). Nor does the record indicate that

   Defendants considered—independent oftheir opinion that DACA was illegal—^why litigating the

   rescission ofDACA was preferable to litigating the decision to maintain the program. See

   Organized Vill. of Kake v. U.S. Den't of Aerie., 795 F.3d 956,970(9th Cir. 2015)(en banc)

  (litigation-risk rationale was arbitrary and capricious where agency's decision "predictably led to

  ...lawsuit" and "[a]t most... deliberately traded one lawsuit for another"). To the extent that

   Defendants now argue that their decision was based on a desire to avoid the harms that could

   result to DACA beneficiaries from a disorderly end to the program,the record offers absolutely

   no indication that Defendants considered these impacts. While Defendants ask the court to infer

   a persuasive rationale from their conclusory statements and firom the Southern District of Texas's

   and Fifth Circuit's opinions in Texas, it is not the court's job to "supply a reasoned basis for the

   agency's action that the agency itself has not given." State Farm.463 U.S. at 43. Even

   accepting for the sake of argument that the record provides some support for Defendants'

  "litigation risk" rationale, that rationale is so inscrutable and unexplained that reliance upon it

   was arbitrary and capricious.

          Even accepting for the sake of argument that "litigation risk" furnished a discemible,

   reasoned basis for Defendants' decision to end the DACA program. Defendants nevertheless

   acted arbitrarily and capriciously by ending that program without taking any account ofreliance

   interests that program has engendered. To withstand review under the APA's arbitrary-and-

   capricious standard, an agency that is changing its policy need not explain why the reasons for


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   the new policy are better than the reasons for the old policy. Fox Television Stations. 556 U.S. at

   514-15. The agency must nevertheless engage in reasoned decisionmaking, which, among other

   things, means that the agency must consider "serious reliance interests" engendered by the

   previous policy. Id at 515; see also Encino Motorcars. LLC v. Navarro, 136 S. Ct. 2117,2125-

   27(2016).

          Plaintiffs identify a number ofreliance interests engendered by the DACA program,

   including that, in reliance on the continued existence ofthe program,DACA recipients have

  "raised families, invested in their education, purchased homes and cars, and started careers"(BV

   Pis. Mot. at 16; State Pis. Mot. at 9-10); employers have hired, trained, and invested time in their

   DACA-recipient employees(BV Pis. Mot. at 17; State Pis. Mot. at 10); educational institutions

   have enrolled DACA recipients who,ifthey lose their DACA benefits, may be forced to leave

  the United States or may see little need to continue pursuing educational opportunities(BV Pis.

   Mot. at 17; State Pis. Mot. at 10); and states have expended resources modifying their motor-

   vehicle and occupational licensing regimes to accommodate DACA recipients(State Pis. Mot. at

   10 & n.l8). The record does not indicate that Defendants acknowledged, let alone considered,

   these or any other reliance interests engendered by the DACA program. That alone is sufficient

   to render their supposedly discretionary decision to end the DACA program arbitrary and

   capricious.

          Defendants' arguments to the contrary are unpersuasive. First, Defendants appear to

   argue that they did not need to discuss reliance interests because "controlling legal precedent"

   had changed. (Defs. Opp'n at 15.) That argument confuses the requirement that the agency

   show "that there are good reasons for the new policy" with the requirement that it not ignore

  "serious reliance interests that must be taken into account" when amending or rescinding an



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   existing policy. Fox Television Stations. 556 U.S. at 515. In any event, it is hard to reconcile

   this argument—^in effect, that Defendants were compelled to terminate the DACA program—

   with their insistence elsewhere that the decision to end the DACA program was discretionary and

   the product ofreasoned deliberation.

           Next, Defendants appear to contend that they did not need to consider reliance interests

   engendered by the DACA policy because those interests were not "longstanding" or serious, to

  the extent they existed. (Defs. Opp'n at 16-17.) It is true that DACA recipients received

   deferred action and work authorization for only two years at a time, that DHS retained discretion

  to revoke those benefits at any time, and that the 2012 DACA Memo "confer[red] no substantive

   right." (2012 DACA Memo at 3; Defs. Opp'n at 17.) As a practical matter, however, it is

   obvious that hundreds ofthousands ofDACA recipients and those close to them planned their

   lives around the program. It is unrealistic to suggest that these reliance interests were not

  "serious" or "substantial" simply because DHS retained the ability to terminate DACA

   recipients' deferred action at its discretion.

           Moreover,the court does not see why the contingent, discretionary nature ofDACA

   benefits means that, as Defendants argue, DACA recipients had no "legally cognizable reliance

   interests—and certainly not beyond the stated duration" in the continued existence ofthe DACA

   program. (Defs. Opp'n at 17.) In so contending. Defendants cross-reference their argument,

   made in their October 27 Motion to Dismiss, that DACA beneficiaries had no "'protected

   entitlement' for due process purposes" because "'government officials may grant or deny

  [DACA benefits] in their discretion.'" (Defs. Oct. 27,2017, Mot. to Dismiss(Dkt. 95)("Defs.

   Oct. 27 MTD")at 35 (quoting Town of Castle Rock v. Gonzeiles. 545 U.S. 748,756(2005))

  (emphasis added).) Even accepting for the sake of argument that DACA recipients had no


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   constitutionally protected liberty or property interests in the continued existence ofthe DACA

   program and the renewal oftheir particular DACA applications, it does not follow that they had

   no reliance interests therein, such that Defendants were free to end the DACA program without

   considering such interests. Encino Motorcars is instructive: A car dealer may have not have a

   Fifth Amendment entitlement to the Department of Labor's hewing to a particular interpretation

   ofthe Fair Labor Standards Act, but that does not mean that the Department is free to disregard

   reliance interests engendered by the longstanding interpretation ofthe Act when it alters its

   regulations.     136 S. Ct. at 2124-26.

          Finally, Defendants argue that Acting Secretary Duke effectively considered the relevant

   reliance interests by adopting a policy that resulted in an orderly wind-down,rather than an

  immediate shut-down ofthe DACA program. (Defs. Opp'n at 17-18.) This is sleight-of-hand

   and further post hoc rationalization. The record does not indicate that the Acting Secretary

   actually considered how the end ofthe DACA program would affect DACA recipients. That her

   chosen policy may,in practice, ameliorate the impact ofthe DACA rescission on DACA

   recipients, as compared to an immediate and disorderly shut-down ofthe program follov^ng a

   hypothetical injunction in the Texas litigation, does not mean that she actually considered this

   possibility. While the Acting Secretary stated that she "[r]ecogniz[ed] the complexities

   associated with winding down the program," the Sessions Letter makes clear that these

   complexities referred to the burdens on DHS of winding down the DACA program. (Compare

   DACA Rescission Memo at 4, with Sessions Ltr.("In light ofthe costs and burdens that will be

  imposed on DHS associated with rescinding this policy, DHS should consider an orderly and

   efficient wind-down process."(emphasis added)).)




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          Accordingly, even ifthe record were to support Defendants' "litigation risk" rationale,

   that rationale would be arbitrary and capricious. Finally, even if this rationale were not arbitrary

   and capricious, the court would nevertheless likely vacate Defendants' decision because it is

   tainted by the errors discussed in Section III.A.1 above. "When an agency relies on multiple

   grounds for its decision, some of which are invalid, we may nonetheless sustain the decision as

  long as one is valid and 'the agency would clearly have acted on that ground even if the other

   were unavailable.'" Mail Order Ass'n of Am. v. U.S. Postal Serv.. 2 F.3d 408,434(D.C. Cir.

   1993)(quoting Svracuse Peace Council v. FCC.867 F.2d 654,657(D.C. Cir. 1989)). To the

   extent that Defendants' "litigation risk" rationale can be discerned from the Administrative

   Record and the parties' submissions in these cases, that rationale appears to be intertwined with

   Defendants' erroneous legal conclusion that the DACA program was unlawful. Because the

   court cannot say that Defendants clearly would have made the same decision even had they

   correctly understood the law and the holdings ofthe Texas courts, that decision is nevertheless

  likely arbitrary and capricious. See also N.Y. Pub. Interest Research Grp.. 321 F.3d at 334 n.l3.

                              b. The Court Cannot Construe This Decision as an "Independent
                                 Policy Judgment"

          Defendants also contend that, even ifthe court disagrees with the Attorney General's

   conclusion that DACA is unconstitutional, the court may nevertheless uphold the decision to end

   the DACA program because the same facts that led the Attorney General to conclude that the

   DACA program is unconstitutional "equally support a policy judgment by the Acting Secretary

   that deferred action should be applied only on an individualized case-by-case basis rather than

   used as a tool to confer certain benefits that Congress had not otherwise acted to provide by

   law." (Defs. Opp'n at 25 (internal quotation marks and citation omitted).) The record, however,

   offers no support for the notion that Defendants based their decision on any "policy judgment

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   that immigration decisions ofthis magnitude should be left to Congress." (Id.") Defendants'

   argument therefore conflicts with fundamental principles ofjudicial review of agency action—

   namely that the court reviews the agency's stated reasons for its decision and "may not supply a

   reasoned basis for the agency's action that the agency itself has not given." State Farm.463 U.S.

   at 43: see also Chenerv IL 332 U.S. at 196; Chenerv I. 318 U.S. at 87.

             Defendants' only authority for this novel argument, Svracuse Peace Council. 867 F.2d at

  654,is inapposite. In that case,the D.C. Circuit held that when an agency bases its decision on

   both a judgment about constitutionality and policy reasons, the reviewing court may uphold the

   decision ifthe agency clearly would have reached the same decision for policy reasons alone,

   even if the agency stated that its constitutional and policy rationales were "intertwined." Id. at

  655-57. Svracuse Peace Council does not stand for the proposition that, when an agency bases

   its decision on constitutional grounds, a reviewing court may,in the first instance, construe that

   decision as having been based on a "policy judgment"found nowhere in the administrative

   record.

                                               *       *       *




             For the reasons stated above, the court concludes that Plaintiffs are substantially likely to

   prevail on the merits oftheir claim that the decision to rescind the DACA program was arbitrary,

   capricious, and an abuse of discretion.

             B. Irreparable Harm

             Plaintiffs have also demonstrated that they are likely to suffer irreparable harm ifthe

   court does not enjoin Defendants from fully implementing the DACA rescission.

          "To satisfy the irreparable harm requirement. Plaintiffs must demonstrate that absent a

   preliminary injunction they Avill suffer an injury that is neither remote nor speculative, but actual

  and imminent, and one that cannot be remedied if a court waits until the end oftrial to resolve
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   the harm." Grand River Enter. Six Nations. Ltd. v. Prvor. 481 F.3d 60,66(2d Cir. 2007)

  (quoting Freedom Holdings. Inc. v. Spitzer. 408 F.3d 112,114(2d Cir. 2005)). Irreparable harm

  "cannot be remedied by an award of monetary damages." State ofNew York ex rel.

   Schneiderman. 787 F.3d at 660.


           Plaintiffs have extensively documented the irreparable harms they will suffer if the

   DACA program ends. Each day, approximately 122 DACA recipients who failed (or were

   unable)to renew their DACA status before October 5,2017, lose their deferred action and work

   authorization. (BV Pis. Mot at 1-2,35; State Pis. Mot. at 28.) Ifthe implementation ofthe

   DACA Rescission Memo is not enjoined, approximately 1,400 DACA recipients will lose

   deferred action each work day, beginning on March 5,2018. (State Pis. Mot. at 28.) As a result,

  these individuals will face the possibility of deportation from the country. While this possibility

   of deportation is clearly extremely worrisome to DACA recipients, the court declines to grant a

   preliminary injunction on this basis. See Winter, 555 U.S. at 21-22; see also Carlsson v. U.S.

   Citizenship & Immigration Servs.. No. 12-CV-7893(CAS),2012 WL 4758118, at *9(C.D. Cal.

   Oct. 3,2012)(risk of deportation speculative, not imminent, when there were no pending

   removal proceedings against the plaintiffs).'^ Nor may the court grant a preliminary injunction

   on the grounds that DACA recipients may,for fear of deportation, suffer from anxiety or

   depression, lose the "abilit[y] to plan for the future and make commitments, whether familial,

   career-based, academic, or otherwise"(BV Pis. Mot. at 37-38), or be required to turn their U.S.

   citizen children over to the care ofthe State Plaintiffs' child welfare systems, or that public




      The court notes that Secretary Nielsen recently stated that, even if the DACA program ended, DHS would not
   prioritize the removal ofDACA recipients who had not committed crimes. See Louis Nelson, DHS Chief:
   Deporting Dreamers Won't Be a Prioritv for ICE IfTalks Fail. Politico (Jan. 16,2018, 8:30 AM),
   https://www.politico.com/story/2018/01/16/dhs-dreamers-deportation-not-priority-340681.

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   safety will be harmed because former DACA recipients will be less likely to report crimes and

   other harms to the commimity (State Pis. Mot, at 28). Because deportation is, at this point, not

   sufficiently "likely" for purposes of establishing irreparable harm, harms accruing from the fear

  of deportation are also too speculative to support the grant ofa preliminary injunction.

          Concomitant with the loss of deferred action, however,DACA recipients will also lose

  their work authorization. As a result, they will be legally unemployable in this country. Some

  DACA recipients will lose their employer-sponsored healthcare coverage, which will endanger

  DACA recipients and their families(BV Pis. Mot. at 36-37) and impose tremendous burdens on

  the State Plaintiffs' public health systems (State Pis. Mot. at 31-32). Other DACA recipients,

   due to the imminent loss of their employment, may lose their homes or need to drop out of

  school. (BV Pis. Mot. at 37.) Employers will suffer due to the inability to hire or retain

  erstwhile DACA recipients, affecting their operations on an ongoing basis and causing them to

  incur unrecoverable economic losses. (Id. at 38; State Pis. Mot. at 29-30.) Finally, the DACA

  rescission will result in "staggering" adverse economic impacts, including, by the State

  Plaintiffs' best lights, $215 billion in lost GDP over the next decade, and $797 million in lost

  state and local tax revenue. (State Pis. Mot. at 33 & nn.77-78.) Thus, while it may be true that

  "[l]oss ofemployment does not in and ofitself constitute irreparable injury," Savage v. Gorski.

  850 F.2d 64,67(2d Cir. 1988), these cases present a "genuinely extraordinary situation"

   warranting injunctive relief, Sampson v. Murrav. 415 U.S. 61,92 n.68 (1974).

          While the above is sufficient to demonstrate irreparable harm,the court also notes the

  obvious fact that the decision to rescind DACA,if carried into effect, will have profound and

  irreversible economic and social implications. That decision "will profoundly disrupt the lives of

   hundreds ofthousands of people." In re United States. 875 F.3d 1200,1210(9th Cir. 2017)



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  (Watford, J., dissenting). It may force one out of every four hundred U.S. workers out ofthe

  lawful workforce.        lie Zong et al.,"A Profile of Current DACA Recipients by Education,

  Industry, and Occupation," Migration Policy Institute(Nov. 2017),

   https://www.migrationpolicy.org/research/profile-current-daca-recipients-education-industry-

   and-occupation. Former DACA recipients will be separated from their families and

  communities. It is impossible to understand the full consequences of a decision ofthis

   magnitude. If the decision is allowed to go into effect prior to a full adjudication on the merits,

  there is no way the court can "unscramble the egg" and undo the damage caused by what, on the

  record before it, appears to have been a patently arbitrary and capricious decision.

          Moreover, it is also impossible for the court to adjudicate this dispute on the merits

   before March 5,2018, when these harms will begin to materialize in earnest. Defendants set an

  aggressive timetable for ending the DACA program and have pursued various dilatory tactics

  throughout this litigation. Notably, they have yet to produce a plausible administrative record in

  these cases, without which the court cannot render a merits decision. Overton Park. 401 U.S. at

  420. For these reasons, it is clear that Plaintiffs will suffer substantial and imminent irreparable

  harm if the court does not preliminarily enjoin the DACA rescission.

          Defendants argue that Plaintiffs have not shown that irreparable harm is "imminent, or

  even likely, given the preliminary injunction recently issued" in Regents. (Defs. Opp'n at 48.)

  Defendants are, however, vigorously contesting that injunction before both the U.S. Court of

   Appeals for the Ninth Circuit and the U.S. Supreme Court. IfJudge Alsup or the Ninth Circuit

   were to lift the injunction in Regents,then Plaintiffs would no doubt suffer irreparable harm.

  Defendants cite no authority for the proposition that Plaintiffs cannot establish irreparable harm

  simply because another court has already enjoined the same challenged action.


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           C. Balancing the Equities and the Public Interest

           Finally, the court must consider whether "the balance of equities tips in [Plaintiffs']

   favor" and if"an injunction is in the public interest." Winter. 555 U.S. at 20, To make this

   decision, the court "balance[s] the competing claims of injury and must consider the effect on

   each party ofthe granting or withholding ofthe requested relief," as well as "the public

   consequences ofemploying the extraordinary remedy ofinjunction." Id. at 24(intemal

   quotation marks and citation omitted). "These factors merge when the Government is the

   opposing party." Nken,556 U.S. at 435. The court concludes that these factors weigh firmly in

   Plaintiffs' favor.


           The court need not restate at length the consequences ofthe DACA rescission for

   Plaintiffs, other DACA recipients, those close to them,and the public at large. Allowing the

   DACA rescission to take immediate effect would quickly cost many DACA recipients the

   opportunity to work legally in this country, and hence to support themselves and their families.

   Enjoining the implementation ofthe DACA Rescission Memo would also preserve the status

   quo, enabling a full resolution ofthis matter on the merits, rather than allowing severe social

   dislocations to unfold based on an agency decision that, as noted above, strongly appears to have

   been arbitrary and capricious. The public interest is not served by allowing Defendants to

   proceed with arbitrary and capricious action.

           Against these considerations, the court weighs the effect on Defendants of initiating a

   wind-down ofthe DACA program on their predetermined timetable. The court does not step in

   this area lightly. Defendants have broad discretion to set immigration-enforcement priorities.

   Arizona. 567 U.S. at 394. Moreover,the DACA program was originally created by the

   Executive Branch, and the Trump Administration should be able to alter the policies and

   priorities set by its predecessor.

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          There are, however, several factors that lead the court to conclude that the balance ofthe

   equities favors granting an injunction. Defendants do not appear to have rescinded the DACA

   program as an exercise oftheir discretion, or because of a reasoned policy judgment, but instead,

   at least in significant part, because they erroneously concluded that the program was

   unconstitutional and unlawful. Enjoining Defendants from rescinding the DACA program on

  erroneous legal grounds therefore does not intrude on their discretion or well-established

   authority to set immigration-enforcement policies. Moreover, although the Government

   generally has a substantial interest in the speedy deportation ofremovable aliens because their

   presence here "permit[s] and prolong[s] a continuing violation of United States law," Nken.556

   U.S. at 436(quoting AAADC.525 U.S. at 490), the court finds that the Government's interest in

  ending the DACA program is not so compelling. For one thing, the President has stated his

  support for keeping DACA recipients in the coimtry (albeit preferably pursuant to legislation

  rather than executive action). Donald J. Trump,@realdonaldtrump, Twitter.com (Sept. 14, 2017

  3:28 AM),https://twitter.eom/realdonaldtrump/status/908276308265795585 ("Does anybody

  really want to throw out good, educated and accomplished young people who have jobs, some

  serving in the military? Really!   "). The current DHS Secretary has also stated that the

  erstwhile DACA recipients would not be a priority for immigration enforcement. Louis Nelson,

  DHS Chief: Deporting Dreamers Won't Be a Prioritv for ICE If Talks Fail Politico (Jan. 16,

  2018), https://www.politico.com/story/2018/01/16/dhs-dreamers-deportation-not-priority-

  340681. Even if deporting DACA recipients were a priority ofthe Administration, an injunction

  against the end ofthe DACA program would not impede this policy, as, under the 2012 DACA




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   Memo,DHS retains discretion to revoke specific DACA recipients' deferred action and work

   authorization.^"^

           Accordingly, the court finds that the balance of the equities tip decidedly in Plaintiffs'

  favor, and that the public interest would be well-served by an injunction.

           D. Scope of Relief

           For the foregoing reasons, the court finds that Plaintiffs have demonstrated that they are

   entitled to a preliminary injunction. Defendants are therefore ORDERED to maintain the DACA

   program on the same terms and conditions that existed prior to the promulgation ofthe DACA

   Rescission Memo,subject to the following limitations. Defendants need not consider new

   applications by individuals who have never before obtained DACA benefits; need not continue

   granting "advanced parole" to DACA beneficiaries; and, of course, may adjudicate DACA

  renewal requests on a case-by-case, individualized basis.               Regents. 2018 WL 339144, at *28.

           Plaintiffs contend that the court should require Defendants to restore the DACA program

   as it existed on September 4,2017,in particular by requiring Defendants to adjudicate initial

  DACA applications submitted by individuals who only became eligible for DACA after that

   date. (Jan. 30,2018, Hr'g Tr.(Dkt. Number Pending)8:24-25.) As in Regents, however,the

  court finds that the irreparable harms identified by Plaintiffs largely result from Defendants'

  expected failure to renew existing grants of deferred action and especially work authorization,

  not from Defendants' refusal to adjudicate new initial DACA applications. While the court is

  sympathetic to the plight ofindividuals who were unable to apply for DACA before September

  5, 2017, it cannot say that Plaintiffs have demonstrated either that these individuals would be




     The court expresses no view as to whether the revocation ofexisting DACA benefits would be consistent with the
  Due Process Clause or other potentially applicable protections.


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   irreparably harmed without injunctive relief or that the balance of equities favors these

   individuals to the same extent it favors existing DACA beneficiaries.

          The court enjoins rescission ofthe DACA program on a universal or "nationwide" basis.

   Again,it does not do so lightly. As Defendants correctly note, equitable principles provide that

  the court should not enter an injunction that is broader than "necessary to provide complete relief

  to the plaintiffs." (Defs. Opp'n at 50(quoting Madsen v. Women's Health Ctr.. Inc.. 512 U.S.

   753,765(1994)).) See also Church & Dwisht Co. v. SPD Swiss Precision Diagnostics. GmBH.

  843 F.3d 48,72(2d Cir. 2016)("[Ijnjunctive relief should be no broader than necessary to cure

  the effects ofthe harm caused by the violation...."(internal quotation marks and citations

   omitted)). Moreover, several academic commentators have insightfiilly observed various

   problems with the practice of granting nationwide injunctions against the Government, including

  that such injunctions thwart the development oflaw in different courts, encourage forum-

  shopping, and create the possibility that different courts will issue conflicting nationwide

  injunctions.      Samuel L. Bray, Multiple Chancellors: Reforming the National Injunction, 131

   Harv. L. Rev. 417(2017); Michael T. Morley, Nationwide Injunctions. Rule 23(b¥2\ and the

   Remedial Powers ofthe Lower Courts. 97 B.U. L. Rev. 611 (2017); Zayn Siddique, Nationwide

  Injunctions. 117 Colum. L. Rev. 2095 (2017); Getzel Berger, Note, Nationwide Injunctions

   Against the Federal Government: A Structural Approach. 92 N.Y.U. L. Rev. 1068 (2017).

          Nevertheless, the court finds that a nationwide injunction is warranted in these cases.

  First, it is hard to conceive of how the court would craft a narrower injunction that would

  adequately protect Plaintiffs' interests. Plaintiffs include not only several individuals and a

  nonprofit organization, but also sixteen states and the District ofColumbia. To protect the State

  Plaintiffs' interests, the court would presumably need to enjoin Defendants from rescinding the



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   DACA program with respect to the State Plaintiffs' residents and employees,including the

   employees of any instrumentalities ofthe state, such as public hospitals, schools, and

   universities. Such an injunction would be unworkable, partly in light ofthe simple fact that

   people move from state to state and job to job, and would likely create administrative problems

  for Defendants. Furthermore, there is a strong federal interest in the uniformity offederal

   immigration law. S^ U.S. Const, art. I, § 8, cl. 4(empowering Congress to "establish a uniform

   Rule of Naturalization"); Texas. 809 F.3d at 187-88. Because the decision to rescind the DACA

   program had a "systemwide impact," the court will preliminarily impose a "systemwide

  remedy." Lewis v. Casev. 518 U.S. 343, 359(1996)(quoting Davton Bd. ofEduc. v. Brinkman.

  433 U.S. 406,420(1977)).

  IV.     CONCLUSION

          Plaintiffs' motions for a preliminary injunction (Dkt. 123 in No. 16-CV-4756; Dkt. 96 in

   No. 17-CV-5228) are GRANTED. The Batalla Vidal Plaintiffs' motion for class certification

  (Dkt. 124)is DENIED as moot.

          SO ORDERED.

                                                                        s/Nicholas G. Garaufis
   Dated: Brooklyn, New York                                           NICHOLAS G. GARAUFl
          February13^ 2018                                             United States District Judge




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